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    FTC MOTION FOR TEMPORARY
        RESTRAINING ORDER
                           EXHIBIT 26

            Declaration of FTC Paralegal Elena Hoffman
          Part 1: Declaration—Attachment C, pages 1 – 206
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                       DECLARATION OF ELENA HOFFMAN
                           PURSUANT TO 28 U.S.C. § 1746
  I, Elena Hoffman, hereby state that I have personal knowledge of the facts set forth

  below. If called as a witness, I could and would testify competently as follows:

     1. I am over eighteen years of age and a citizen of the United States. My formal

  education includes a Bachelor of Arts degree from the University of Pennsylvania

  obtained in May 2020.

     2. I am employed by the Federal Trade Commission (“FTC”) as an Honors

  Paralegal in the Division of Litigation Technology and Analysis within the Bureau

  of Consumer Protection. I have held this position since August 2020. My office

  address is 600 Pennsylvania Ave., NW, CC-6201, Washington, DC 20580.

     3. As an Honors Paralegal, my job functions include providing litigation and

  investigation support to Bureau of Consumer Protection attorneys and other staff

  involved in the litigation and investigation of FTC cases. In the normal course of

  assisting with investigations, I regularly utilize consumer complaint databases to

  access a broad range of complaints made by various consumers whom I then

  personally contact via phone and email. I also regularly use Internet search engines

  to find websites, videos, and other relevant information, and software to preserve

  copies of this information.




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     4. In the course of my duties, I was assigned to work on the FTC’s investigation

  of several entities and individuals selling credit repair and related services through

  a multi-level marketing structure, including: Financial Education Services (“FES”),

  United Credit Education Services (“UCES”), United Wealth Education (“UWE”),

  and Youth Financial Literacy Foundation (“YFLF”). I have assisted the FTC

  attorneys with this investigation by, among other things, contacting and

  interviewing consumers who have submitted complaints about the Defendants,

  preserving online content related to the Defendants, and translating some of the

  online Spanish-language content related to the Defendants.

                             CONSUMER INTERVIEWS

     5. Over the course of the investigation, I conducted telephone interviews with

  consumers who filed complaints against Defendants with the Better Business

  Bureau (“BBB”), Consumer Sentinel (“Sentinel”), or the Consumer Financial

  Protection Bureau (“CFPB”).

                            Interview with Caitlin Bedwell

     6. On or around April 21, 2021, I interviewed Caitlin Bedwell who is a resident

  of Granbury, Texas.

     7. Ms. Bedwell stated that on or around January or February 2019, she was

  scrolling through Facebook when she came across an ad someone had posted in the

  Buy, Sell, Trade Facebook group for residents of Hood County, Texas. The ad was

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  promoting an opportunity to bump your credit score up. The post caught her eye

  because her husband, Brian, had student loans that were negatively impacting his

  credit.

     8. Ms. Bedwell stated that the ad was posted by a man, and she decided to reach

  out to him via Facebook Messenger that same day. She sent him a message from

  the joint Facebook account she shared with Brian. The man asked her what she was

  trying to repair on her credit, and she explained that Brian had student loans and

  divorce fees from his previous marriage that were bringing down his credit score.

  The man proceeded to introduce a credit repair service, known as Financial

  Education Services or FES, that would delete accounts in negative from Brian’s

  credit report, which would in turn increase his credit score by a certain amount of

  points. The man claimed that Brian’s student loan accounts would be deleted from

  his credit report. The man guaranteed that Brian’s credit report would be fully

  “cleaned out” after six months and that it was a very easy process overall.

     9. Ms. Bedwell stated that after hearing about the positive ways in which

  Brian’s credit would be improved through FES, she discussed the opportunity with

  him and ultimately decided to get him registered for the credit repair service. They

  completed the registration process through the gentleman, who was going to serve

  as Brian’s new FES agent. She submitted Brian’s name, address, social security

  number, and banking information to their agent via Facebook Messenger.

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     10. Ms. Bedwell stated that after submitting this information, the agent sent

  Brian and her a link to the credit repair service’s customer portal, as well as

  Brian’s log-in credentials. When Brian and she first logged in to the portal, she saw

  that Brian did have to sign something electronically, though she could not recall

  what it was. She believes it was something authorizing FES to both take funds

  from Brian’s bank account, as well as access his credit report. She did not recall

  Brian receiving a contract cancellation form or a written statement called

  “Consumer Credit File Rights Under State and Federal Law.”

     11. Ms. Bedwell stated that the initial registration cost for this service was

  about $100, which was supposedly cheaper than normal. Brian and she received a

  discount on the service since their agent was running a special at the time. There

  was also a monthly fee for the services that they were required to pay the first

  month. This was all paid through automatic deposit payments directly to FES.

     12. Ms. Bedwell stated that soon after Brian’s registration was complete, their

  agent asked her if she wanted to register as an agent for FES to help Brian sell the

  credit repair service to other people. However, she was not interested. She just

  wanted Brian to get his credit repaired.

     13. Ms. Bedwell stated that after completing Brian’s FES registration, they

  were not informed of any additional steps they would need to take to advance the

  credit repair process. As such, they decided to simply sit back and let the process

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  complete itself. After a month and a half had passed, Brian and she decided to

  check and see if any progress had been made on Brian’s credit. They checked by

  logging into the customer portal, which had a credit score tracker for Brian. They

  saw that there had been absolutely no changes made to his score, so they decided

  to reach out to the agent and inquire about why this might have been. The agent did

  not respond to their message, but they were not too concerned by it at the time.

  Brian and she simply assumed they had checked Brian’s score too quickly,

  especially seeing as the service was not supposed to be completed for another four

  and a half months.

     14. Ms. Bedwell stated that as the next couple of months unfolded, their

  concerns began to escalate. Brian and she would check Brian’s credit score on the

  website tracker about 2-3 times a month, but the number never changed. They

  began reaching out to the agent more and more frequently to figure out why

  Brian’s score remained stagnant, but the agent never once replied to them. Even

  though the agent was ignoring their messages, he was still active on Facebook. The

  agent continued to advertise the credit repair service in the Buy, Sell, Trade group.

  Whenever she noticed the agent had posted a new ad, she would comment on the

  post stating she had “DMed” (direct messaged) him, but he disregarded every

  single comment she left.

     15. Ms. Bedwell stated that six months passed without any improvements to

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  Brian’s credit score and zero communication from their agent. Brian and she

  decided to cancel the service and request a refund, so they reached out to the agent

  in hopes he would at the very least respond to help them cancel Brian’s

  registration. When the agent did not answer, they reached out to FES corporate, but

  heard nothing from them as well. When they noticed that FES had charged Brian’s

  account for an additional month of registration even after the couple had requested

  to cancel, they chose to file a complaint against FES with the Better Business

  Bureau. She filed this complaint on August 22, 2019, under Brian’s name.

     16. Ms. Bedwell stated that after filing the BBB complaint, FES corporate

  finally reached back out to her and instructed Brian to log in to his customer portal

  and send the dispute letters present to the three credit bureaus. FES corporate

  explained that sending out these dispute letters was the way Brian’s credit was

  supposed to improve through the credit repair service. However, no one had told

  them about these dispute letters over the course of Brian’s six months being

  registered with FES, not from the agent, nor from FES themselves. Ms. Bedwell

  stated that if she had known that FES was only going to have Brian send out form

  dispute letters, she would have never had him register for the credit repair service

  in the first place seeing as they could just write and send dispute letters out on their

  own.

     17. Ms. Bedwell stated that after making this discovery, she had FES cancel

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  Brian’s registration, and Brian was subsequently issued a refund. However, she

  highly doubts FES would have done this if she had not involved the BBB, seeing

  as FES was ignoring her cancellation requests before she filed the complaint. She

  did not understand why her agent completely ignored the couple after she turned

  down his offer to register as an agent, and why no one, not even FES corporate,

  gave Brian a heads-up about the dispute letters prior to their cancellation request

  six months after registering for the service.

                             Interview with Colin Estwick

     18. On or around January 14, 2020, I interviewed Colin Estwick of Odessa,

  Texas.

     19. Mr. Estwick stated that on or around July of 2019, he was chatting with a

  cousin of his that he grew up with and was very close to. He told her he was

  interested in getting his credit repaired since he had a couple of late child support

  payments that were negatively affecting his credit. His cousin told him that she had

  a friend named Randall Johnson who might be able to help him out, so she

  connected them.

     20. Mr. Estwick stated that he spoke with Johnson on the phone, and Johnson

  introduced himself as being an agent for United Credit Education Services

  (“UCES”). Johnson asked him if there were any particular items he wanted to see

  removed from his credit report, and he told him about the child support payments.

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  Johnson explained to him that while UCES would not be able to get rid of his child

  support payments altogether, they would be able to hide them from his credit

  report and keep them from affecting his credit score. Johnson also guaranteed that

  UCES would bump his credit score up above 700 points within seven months.

     21. Mr. Estwick stated that he really wanted to improve his credit, so he

  decided to register for the service. The service would supposedly cost him about

  $89 per month. He provided Johnson with a bunch of his personal information as

  part of the registration process, including his full name, date of birth, social

  security number, and more. He recalled Johnson reading some type of disclosure to

  him, which basically stated that by registering for UCES’ credit repair services, he

  would be granting UCES attorneys the right to run his credit report and take

  control over his credit reparation situation. Johnson also provided him with some

  brochures.

     22. Mr. Estwick stated that he came to understand that the credit repair services

  advertised by UCES involved attorneys writing dispute letters addressed to credit

  bureaus on his behalf. The lawyers would write dispute letters requesting for the

  credit bureaus to remove certain items from his credit report, and the lawyers

  would then send him these letters for him to sign and subsequently mail out

  directly to the credit bureaus. This process bothered him because he had not

  initially realized that the credit repair service was limited to providing him form

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  letters that he would have to mail out himself. He felt that the attorneys, if there

  even were any, appeared to write these letters at an extremely slow pace. A

  significant amount of time passed in between different rounds of letters. He never

  spoke to an attorney while he was signed up with UCES.

     23. Mr. Estwick stated that he periodically checked his credit throughout the

  time he was enrolled with UCES. While the “lawyers” had successfully removed

  some items from his credit report, the items they were removing were not

  necessarily things that would make any difference in his overall credit.

  Furthermore, not much was accomplished during the initial 3-4 months he was

  enrolled with UCES because he was supposedly required to submit his driver’s

  license and social security number to the credit bureaus on top of the letters. No

  one at UCES informed him of this, including Johnson.

     24. Mr. Estwick stated that Johnson gave him the impression that he would

  serve as his coach throughout the credit repair process, and that they would have

  monthly phone call check-ins concerning the status of his credit. However, this

  was not the case. Whenever he tried to get in contact with Johnson after his initial

  UCES registration, Johnson made various excuses not to talk with him and would

  deliberately avoid his calls.

     25. Mr. Estwick stated that on or around March of 2020, he decided to

  terminate his enrollment with FES, as he did not feel their credit repair service was

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  a worthwhile investment. If there had been any truth to Johnson’s claim that UCES

  would bump his credit score to at least 700 points within seven months of

  enrollment, then Ehis credit score would have reached this milestone by February

  2019. However, this was not the case. He was enrolled with UCES for over a year

  and a half, and his credit score never rose above a 700. Moreover, UCES never

  managed to get his late child support payments from appearing in his credit

  history.

                           Interview with Demetris Pugh

     26. On or around November 4, 2021, I interviewed Demetris Pugh of

  Narrowsburg, New York.

     27. Ms. Pugh stated that in or around the summer of 2019, she received a direct

  message on Facebook Messenger from a Facebook friend of hers. She believed

  they went to high school together, but they were not close. The Facebook friend

  had messaged her about a credit repair service opportunity that he claimed would

  remove negative accounts from her credit report, thus subsequently raising her

  credit score. The Facebook friend explained that he worked for the company

  offering these services, which was called United Credit Education Services

  (“UCES”). He was an agent for the company.

     28. Ms. Pugh stated that when she inquired about how this credit repair process

  worked, the Facebook friend explained that UCES would prepare dispute letters on

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  her behalf that would list any negative accounts she possessed, and then claim that

  these accounts were all erroneous. These letters were then supposed to be sent out

  to the credit bureaus. The Facebook friend sent her a link to UCES’ website so that

  she could learn more about the services and products that the company offered.

     29. Ms. Pugh stated that after speaking with her Facebook friend and reviewing

  the UCES website, she decided it seemed like a smart idea to go ahead and try to

  repair her credit with UCES. As such, she informed the friend that she wanted to

  register for UCES’ credit repair services. The Facebook friend sent her a link to a

  customer portal that would allow her to register herself for the services. He told her

  to list him as her referral. She recalled having to submit her name, address, phone

  number, social security number, and credit card information during the UCES

  registration process.

     30. Ms. Pugh stated that during this registration process, she did not receive or

  sign any contract. She also did not receive an estimated date by which her credit

  repair services would be completed, or any type of cancellation form with

  instructions on how to cancel her services. She did not receive a written statement

  called “Consumer Credit File Rights Under State and Federal Law” or any type of

  disclaimer about the services she was about to receive.

     31. Ms. Pugh stated that the only thing she recalled consenting to during this

  registration process was for UCES to take money out of her account every month.

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  She was charged a one-time credit repair service set-up fee of about $99, as well as

  an $89 fee for the services themselves. This meant that the total amount she paid

  UCES during registration was about $188. The $89 fee would be charged

  automatically to her credit card monthly as long as she was registered for UCES’

  credit repair services.

     32. Ms. Pugh stated that after completing her registration, she received a

  unique username and password that allowed her to access her customer portal. This

  portal listed her credit score and she recalled the portal displaying various

  examples about how much her score would increase depending on which of her

  negative accounts got removed from her credit report.

     33. Ms. Pugh stated that she recalled seeing her friend post UCES credit repair

  service testimonials on his Facebook feed that cited specific figures. He posted

  testimonials from what seemed like his clients that made claims such as: “My

  credit score used to be X, but now it’s X and I got X accounts removed from my

  report.”

     34. Ms. Pugh stated that soon after she had registered with UCES, she received

  her first batch of dispute letters in the mail from them. There were three letters; one

  for each of the three credit bureaus. The language used in the letters appeared as

  though it had been derived from some generic template, as all three letters read the

  same and did not seem to be very detailed. She recalled having to sign the letters

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  and then pay the postage fee to actually send the letters out to the credit bureaus.

  She also remembered having to provide the credit bureaus with a copy of her social

  security card and driver’s license. She was a little perplexed on why she had to do

  all this extra work herself when she was already paying UCES $89 a month for the

  credit repair services. The only part of the dispute letter process that UCES was

  actually doing was writing the letters.

     35. Ms. Pugh stated that UCES required her to provide updated reports on any

  responses she received from the credit bureaus following our dispute letters. Every

  30-45 days, UCES would send her a new set of dispute letters to mail out.

     36. Ms. Pugh stated that she was registered for UCES’ credit repair services for

  about a year. Over the course of this year, UCES only managed to remove one item

  from her credit report. This item was a Kay Jewelers credit card that she had owed

  about $2,400 on. The credit card was already in collections by the time UCES

  began disputing it, and it was removed from her credit report a couple months after

  she had begun using the credit repair services. Her credit score did go up slightly

  after this credit card was removed, but not by much. Over the course of her year as

  a UCES client, all of her larger negative entries, including her student loans,

  remained on her credit report.

     37. Ms. Pugh stated that after about a year of investing in UCES’ credit repair

  services, in or around the summer of 2020, she got tired of paying so much money

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  towards a service that had not accomplished much for her credit. She grew

  skeptical of UCES, and began researching the legality of credit repair companies

  online. Based on her research, it appeared to her as though the credit repair

  services UCES was offering might not in fact be legal.

     38. Ms. Pugh stated that this discovery, as well as her general displeasure with

  the credit repair services, led her to cancel her service subscription in the summer

  of 2021.

     39. Ms. Pugh stated that following the completion of her cancellation, she filed

  a complaint with the CFPB on or around August 6, 2021, requesting a refund of all

  the money she paid to UCES over the course of her year registered as a credit

  repair service recipient. UCES responded to this CFPB complaint claiming they

  would not return any of her money.

     40. Ms. Pugh stated that she learned that a friend of hers who had a similarly

  negative experience with UCES also requested a refund of her services through the

  CFPB and had successfully been refunded. This inspired her to try and request a

  refund from UCES one more time, and she submitted another complaint to the

  CFPB on or around August 22, 2021. As of the time of our interview, UCES had

  yet to respond to this second complaint, and has not refunded Ms. Pugh her money.




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     41. Ms. Pugh stated that all in all, she was very upset by the experience she had

  with UCES. She paid a significant amount of money to them for miniscule results.

  It was a waste of money and time for her.

                           Interview with Osmel Villarreal

     42. On or around January 13, 2022, I interviewed Osmel Villarreal of Las

  Vegas, Nevada.

     43. Mr. Villarreal stated that in or around 2017, he was scrolling on Facebook

  when he came across a post made by someone named Julio Fernandez. He did not

  know Fernandez personally, but they were friends on Facebook. His post, which

  was in Spanish, said something along the lines of “Gana dinero mientras reparas tu

  credito,” which translates to “Earn money while you repair your credit.” He had a

  bankruptcy that was negatively affecting his credit, so this credit repair opportunity

  Fernandez posted about caught his eye. As such, he decided to reach out to

  Fernandez over Facebook Messenger to learn more.

     44. Mr. Villarreal stated that Fernandez explained in Spanish over Messenger

  that the credit repair service he was advertising was run through Financial

  Education Services, and that he held “presidential status” in the company.

  Fernandez told him that FES’s credit repair service would remove all negative

  accounts from his credit report. He told Fernandez about his bankruptcy, and

  Fernandez claimed that FES would wipe that from his credit report. His

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  understanding from Fernandez was that FES had a special relationship with the

  credit bureaus that allowed it to remove all negative items from its customers’

  credit reports. Fernandez explained that this credit repair process would take

  around six months to one year. Fernandez never explicitly stated how many points

  FES would raise his credit by, but he sent him some pictures that showed

  testimonials of FES credit repair recipients saying how many points their credit

  scores had supposedly increased after enrolling in FES’s services.

     45. Mr. Villarreal stated that Fernandez further explained that on top of getting

  his credit repaired with FES, he could get paid for helping other people repair their

  credit if he signed up as an agent with the company. This business opportunity,

  which involved signing other people up with the company, was supposedly very

  flexible, and he could work by himself and be his own boss. Fernandez told him he

  had achieved his “presidential status” in just one month working with the

  company, and that Fernandez would help him achieve the same. After registering

  as an agent with the company, he would gain access to a virtual office that would

  contain advertising material he could use to help him get the word out about FES

  and find new people to register. Fernandez promised him that he would earn a lot

  of money by enrolling in this business opportunity. Fernandez said that as an agent

  he would still get his credit repaired through the credit repair service.



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     46. Mr. Villarreal stated that he was most interested in improving his credit

  score and removing his bankruptcy from his credit report, but he figured that

  earning some extra money on the side could be nice. As such, he decided he would

  register to become an agent.

     47. Mr. Villarreal stated that after he expressed interest in becoming an agent

  to Fernandez, he sent him a link where he would be able to register for FES agent

  “membership.” He recalled having to enter in personal information such as his

  name, Social Security Number, and date of birth, along with his credit card

  information. He had to pay an initial registration fee of somewhere around $300,

  followed by monthly payments of $89.

     48. Mr. Villarreal stated that while he recalled having to agree to “terms and

  conditions” and a “service agreement” during the registration process, he had no

  recollection of ever having signed or received a contract or contract cancellation

  form from FES.

     49. Mr. Villarreal stated that after completing his registration, he learned that

  FES would be repairing his credit through a dispute letter process. FES would send

  him so-called “dispute letters” that he would sign and send to the three credit

  bureaus.

     50. Mr. Villarreal stated that he was enrolled with FES for about two months.

  Over the course of these two months, FES sent him one set of dispute letters. After

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  he sent these letters to the credit bureaus, they responded that the items he disputed

  could not be removed from his credit report. His credit score did not improve over

  these two months. To make matters worse, there was also a “hard inquiry” added

  to his credit report when FES ran a credit check following his registration.

     51. Mr. Villarreal stated that on top of his negative experience with FES’s

  credit repair service, he never received any of the agent advertising material he had

  initially been promised. Fernandez never sent him any supporting material and he

  also never did anything to help him achieve presidential status as he had previously

  claimed he would. As such, he was never able to sign anyone up, neither as an

  agent nor as a credit repair customer.

     52. Mr. Villarreal stated that he decided to leave FES when he realized that the

  company had no special relationship with the credit bureaus. He did not need FES

  to send dispute letters on his behalf—he could send the credit bureaus dispute

  letters himself, for free. As such, he cancelled his registration. He requested a

  refund of his initial fee plus the two monthly payments FES had billed him, but

  FES refused to reimburse him.

     53. Mr. Villarreal stated that about two years later, in or around December of

  2019, he received a phone call from Fernandez, who was still an agent with the

  company. He claimed the company had changed and was a “different company”

  now. They had supposedly improved their business practices, which Mr. Villarreal

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  assumed meant they would now be able to effectively fix his credit. FES even went

  by a new name now: United Credit Education Services (“UCES”). Fernandez

  claimed he could get him re-registered as an agent for a cheaper price than the one

  he had paid back in 2017 thanks to a promotion he was running.

     54. Mr. Villarreal stated that since he was still desperate to get the bankruptcy

  off his credit report, he fell for Fernandez’s claims and agreed to re-register as an

  agent with UCES. Fernandez then sent him the same registration link he had sent

  him the first time. This felt fishy to him considering Fernandez had insisted the

  company was “different” now, but he went forward with registering. He was

  charged a $199 registration fee and an additional $89 for the monthly credit repair

  fee, totaling up to $288.

     55. Mr. Villarreal stated that immediately following his second registration, on

  or around December 19, 2019, Fernandez added him to a WhatsApp group chat

  with about 55 other agents. He ended up following a couple of these agents on his

  social media accounts, including Instagram. They would frequently post images

  that showed off a luxurious lifestyle. He recalled seeing some agents post pictures

  of their Maserati cars while claiming they could afford these thanks to their work

  as FES agents.

     56. Mr. Villarreal stated that on or around December 20, 2019, he received an

  email from UCES asking for his authorization to run a hard inquiry on his credit

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  report. As mentioned earlier, FES had run a hard inquiry on his credit during his

  first stint with the company that had negatively impacted his credit score. This all

  made it appear as though FES/UCES had not changed its business practices at all.

  It seemed like they were running the exact same credit repair operation as they had

  back in 2017.

     57. Mr. Villarreal stated that when Fernandez was initially explaining the agent

  business opportunity to him, Fernandez had stated that he would be compensated

  for registering new people into UCES, whether as credit repair consumers or new

  agents. However, after being added to the WhatsApp, he realized there was more

  to it. You would also be compensated based on who the people in your downline

  were bringing in. Your downline referred to the agents you registered with UCES,

  as well as the agents they then registered with UCES, and so on. You would

  supposedly receive a percentage of the income your downline generated.

  Furthermore, the more people and layers your downline had, the higher your agent

  rank would be.

     58. Mr. Villarreal stated that this discovery made him realize that Fernandez

  had lied about FES/UCES being different now in order to rope him back into his

  downline, which he needed to do to maintain or increase his rank and

  compensation amount. This led him to cancel his registration with the company for



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  the second time. He attempted to request a refund just like he had the first time, but

  FES/UCES once again refused to issue one.

     59. Mr. Villarreal stated that UCES’s refusal to issue him a refund led him to

  file a complaint against UCES with the BBB on or around January 30, 2021. He

  requested a refund for all the money he had paid them, both from his first and

  second time being registered with the company. Following his BBB complaint,

  UCES refunded him the total amount he paid his second time with the company,

  but still refused to refund him the amount paid the first time.

     60. After our interview, Mr. Villarreal forwarded to me several images he had

  captured from his WhatsApp group and from the various social media accounts of

  the agents he followed, as well as an email he received from UCES. True and

  correct copies of some of these images and the email that Mr. Villarreal sent me

  are attached to this declaration as Attachment A.

                             Interview with Brittaney Key

     61. On or around October 28, 2021, I interviewed Brittaney Key of Honolulu,

  Hawai’i.

     62. Ms. Key stated that on or around early November 2020, she was scrolling

  through Facebook when she began noticing posts being made by a former

  classmate of hers named Andrea Hall. These posts spoke about how Hall had

  started her own credit repair business, as well as her experiences with the business

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  and random facts about credit repair. The posts would say stuff like “Here’s why

  credit is important: You can get better deals on loans, houses, and cars.” Other

  posts would show off customer testimonials and illustrate how their credit had

  improved as a result of the service.

     63. Ms. Key stated that Hall also simultaneously posted about a flexible

  income-earning business opportunity that had allowed people to go from working

  9-5s at Walmart to operating their own schedules. Hall advertised this opportunity

  as being “work from home. If you had “the drive and hustle” you could turn this

  work from home opportunity into a full-time gig. However, even if you did not

  have the time to turn this into a full-time job, the opportunity could still be a good

  side-gig offer.

     64. Ms. Key stated that her credit at the time was fine. However, the business

  opportunity Hall was advertising caught her attention. She was working a retail job

  and figured she could benefit from earning some extra money on the side. She felt

  as though this business opportunity could be a good fit for her, so she decided to

  reach out to Hall to learn more.

     65. Ms. Key stated that she sent Hall a Facebook message on or about

  November 3, 2020. Hall immediately sent her a link to a WebinarJam that would

  discuss this joint credit repair service and business opportunity in further detail.



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     66. Ms. Key stated that she attended the WebinarJam meeting, where she was

  introduced to a company named “Financial Education Services” (“FES”). During

  the webinar, financial literacy was discussed, as was the credit repair service. It

  was revealed that the credit repair service cost about $80 a month. FES supposedly

  had attorneys on hand that would take care of writing letters to the credit bureaus

  requesting that they remove accounts in negative from the credit repair service

  recipients’ credit reports.

     67. Ms. Key stated that the individuals running the call then began discussing

  the FES business structure. It was mentioned that agents, who were the ones selling

  the credit repair service, would be required to register for the credit repair service

  as well. This led her to drop off the call, since she was not interested in becoming

  an FES agent if it also required being registered for the credit repair service.

     68. Ms. Key stated that a little under a year after the matter, she spoke with a

  friend who was involved in a separate pyramid scheme. Speaking with this friend

  reminded her of her brief introduction to FES, which inspired her to file a

  complaint against them with the CFPB on September 19, 2021.

                                Interview with Glenn Igafo

     69. On or around February 11, 2021, I interviewed Glenn Igafo of Mililani,

  Hawai’i.

     70. Mr. Igafo stated that in or around 2019, a good friend of his reached out to

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  him and told him about a credit repair service that a friend of his had registered

  him and his wife up for. His friend explained that the full credit repair package was

  called the Financial Education Services (“FES”) Protection Plan. The FES

  Protection Plan would supposedly include access to attorneys who would help one

  repair their credit, as well as write their will and trust. Overall, the FES Protection

  Plan included about 11-13 different tools that would help repair one’s credit. The

  friend stated that this credit repair service would improve Mr. Igafo’s credit score

  to 750 points or higher within a year. The credit repair service program cost a one-

  time registration fee of $189, followed by monthly payments of $89.

     71. Mr. Igafo stated that his friend also explained that FES allowed people to

  “start their own business” and earn money by registering as an agent with the

  company and selling the credit repair service to other consumers. A lot of people

  who registered as agents supposedly made a lot of money quickly. FES had

  different agent ranks, and his friend claimed that once an agent reached the fourth

  or fifth agent rank, that was the “sweet spot where you start making a lot of

  money.” His friend claimed that agents were making up to six figures working

  with the company. The friend also insisted that despite the rank system, FES was

  not a pyramid scheme.

     72. Mr. Igafo stated that he was mainly interested in improving his credit.

  Regardless, he figured that it could be fun to work as an agent alongside his friend,

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  so he ultimately decided to register for both the credit repair service and agent

  program. He joined under his friend.

     73. Mr. Igafo stated that upon joining FES as an agent, he attended webinar

  trainings via Zoom where he learned more about FES. He learned through these

  trainings that the rank system was based around a point system. Essentially, agents

  would earn points for registering people with the company, either as credit repair

  customers or other agents. The amount of points an agent obtained in a given

  month would determine whether they remained at that rank, moved up a rank, or,

  in cases of limited output, were demoted a rank. The points were refreshed every

  month, and agents would receive a one-month grace period for months of low

  registration. This meant that if one had a successful month in which they registered

  multiple people, but then did not register anyone the following month, they would

  remain at their same rank. However, if they also struggled to register anyone the

  month after that, their rank would be demoted.

     74. Mr. Igafo stated that he spent a significant amount of time on advertising

  FES. He was constantly posting about FES on social media, as well as putting up

  physical fliers around the neighborhood as well. In total, he managed to recruit

  three people underneath him, which were his sisters and wife.

     75. Mr. Igafo stated that eventually he decided he wanted to leave FES. When

  he attempted leaving, he requested a refund, but did not receive it. FES’ refusal to

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  issue a refund is what led him to file a complaint against the company with the

  BBB.

                             Interview with Jennifer Grant

     76. On or around January 13, 2022, I interviewed Jennifer Grant of Bedford,

  Texas.

     77. Ms. Grant stated that in or around November or December of 2020, she

  was chatting with her friend Monica who told her about a credit repair agency she

  worked with that Ms. Grant would eventually learn was called United Credit

  Education Services (“UCES”). Monica explained that UCES would repair its

  customers’ credit by sending out dispute letters on their behalf to the credit

  bureaus. These letters would dispute and remove all negative and delinquent

  accounts from customers’ credit reports. This, in turn, would increase a customer’s

  credit score by up to 100 points, and sometimes even higher than that. Monica told

  her that the credit repair service, which she was enrolled in herself, had so far

  improved her credit by 30 points. In addition to providing these dispute letters,

  UCES also supposedly held credit education classes that its credit repair service

  recipients could participate in.

     78. Ms. Grant stated that Monica, who was an agent with the company, offered

  to sign her up as an agent as well. Monica claimed that for every person an agent



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  signed up with UCES, the agent would get a cut of their registration fees.

  However, this offer did not particularly interest her, and so she declined.

     79. Ms. Grant stated that Monica explained that there would be an initial

  registration fee for the credit repair services as well as an $89 monthly fee for

  every month she continued using the service.

     80. Ms. Grant stated that she took about two weeks to think it over. At one

  point during this period, Monica got her on the phone with another UCES agent

  who told her about all the benefits of the credit repair service. Having Monica

  connect her with this other agent made the service appear more legitimate to her.

     81. Ms. Grant stated that at that time, she felt as though anything that could

  improve her credit score was worth the costs Monica had laid out. She also trusted

  her friend. As such, after thinking it over, she decided to go ahead and sign up for

  the credit repair service and called Monica to initiate the registration process.

  Monica asked her to text her personal information to her so that she could register

  her on the website. This included her Social Security Number, phone number, and

  email address. She also texted Monica her bank account information so that she

  could pay the initial sign-up fee. She was billed immediately, which gave her the

  impression that she was now fully registered and ready to go with UCES.

     82. Ms. Grant stated that during this initial registration process, she did not

  recall receiving a written statement called “Consumer Credit File Rights Under

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  State and Federal Law” or any other disclosure. Moreover, she did not receive or

  sign a contract or a contract cancellation form. She did not sign anything else for

  that matter.

     83. Ms. Grant stated that following her registration, Monica confirmed that she

  had successfully signed up for the credit repair service. She asked Monica what

  would happen next, and Monica said that all she had to do at this point was wait

  for UCES to send her the dispute letters. Monica claimed that UCES would reach

  out to her first via email.

     84. Ms. Grant stated that she waited three months to receive these dispute

  letters without hearing anything from UCES. She never once questioned or

  doubted whether her registration had been successful because UCES was

  continuing to bill her their monthly fee. Regardless, she was growing impatient.

  She first checked in with Monica about the status of her dispute letters about a

  month following her registration, and then at various points afterwards. Monica

  repeatedly encouraged her to just wait a little longer.

     85. Ms. Grant stated that about three months after she had initially registered

  for UCES, they had billed her the $89 fee three times, for a total of $267. This

  made her decide she was paying too much money for a service that was acting way

  too slowly. She called Monica and told her that she wanted to cancel her UCES

  registration. This appeared to spark a new sense of urgency in Monica, and Monica

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  suggested they call UCES corporate together to inquire about where her dispute

  letters were.

     86. Ms. Grant stated that Monica then called UCES corporate and looped her in

  through a three-way conference call. This conference call was the first time she

  learned the company’s name, “United Credit Education Services.” She first spoke

  with a male company representative who claimed that UCES had followed up with

  her via email multiple times with instructions on next steps following her initial

  registration. He also claimed that UCES had attempted to contact her via text

  message, but that they could not reach her because she had supposedly “opted out”

  of receiving text messages from them. She checked her email to see if she had

  accidentally missed their communications, but she did not find a single email from

  them, neither in her regular inbox nor her spam folder. She also did not have any

  recollection of having “opted out” of receiving text messages from UCES.

     87. Ms. Grant stated that since she already had him on the phone, she asked the

  corporate representative if he could tell her the next steps for registering for the

  credit repair services. She told him that if he could not provide her with these steps,

  she would cancel her registration. While they were still on the phone, he sent her

  an email with a link to the customer portal. The personal information she had sent

  Monica when she registered was already pre-filled in on the portal. The corporate

  representative explained she would need to check some boxes on this portal if she

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  wanted to begin receiving her dispute letters. He then began giving her instructions

  over the phone about how to proceed. There were a few pages that appeared on the

  screen which seemed to contain disclosures or terms and conditions. The corporate

  representative hurriedly asked her to mark the checkboxes and click through the

  pages without giving her any time to read what she was supposedly agreeing to.

  His instructions felt very rushed.

     88. Ms. Grant stated that once she finished registering with the portal, she

  asked the corporate representative if he could issue her a refund for each month

  UCES had billed her for their services since they had not sent her the dispute

  letters or done anything to repair her credit. The corporate representative stated that

  UCES would not do that because they had tried to contact her regarding the

  instructions to officially register with the portal. As Ms. Grant previously

  mentioned, this was a lie because she had not received a single email from them

  and had never opted out of receiving text messages, at least not to her recollection.

  She did not understand why Monica had never shared these additional portal

  registration instructions with her.

     89. Ms. Grant stated that still on the call, she asked the corporate representative

  if she could speak with his supervisor. He then transferred her to a female

  corporate representative who continued to refuse to issue her a refund.



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     90. Ms. Grant stated that after this representative refused to issue her a refund

  for all the monthly fees UCES had deducted from her bank account, she decided

  the company’s business practices were too shady for her to give their dispute letter

  process a shot, even though she was now supposedly fully registered. She asked

  the supervisor to cancel her registration on that same phone call, and she was

  thankfully never billed by UCES again.

     91. Ms. Grant stated that after getting off the phone with the supervisor, she

  noticed she had received an email from UCES informing her that they were going

  to run a hard inquiry on her credit. She had not knowingly agreed to have UCES

  run this inquiry. She would not have knowingly agreed to this since having a hard

  inquiry run on one’s credit can negatively affect it.

     92. Ms. Grant stated that after she cancelled her registration, she looked up

  “United Credit Education Services” online on Google and came across a plethora

  of negative reviews that seemed to imply the credit repair service they were

  running was a scam. People were specifically complaining that UCES did not

  provide the services it promised and that UCES never sent the consumers their

  supposed dispute letters.

     93. Ms. Grant stated that on or around March 3, 2021, she filed a complaint

  with the BBB with two main intentions: she wanted to get her money back from

  UCES, but she also wanted to let other people know about the company’s shady

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  business practices. She requested a refund of $267 in her complaint, representing

  the three months’ worth of monthly fees that UCES had deducted from her

  account.

     94. Ms. Grant stated that UCES quickly responded to her complaint and issued

  her a refund of $89, worth one month of services. However, they insisted that they

  would not issue her a refund for the remaining $178. The BBB gave her 48 hours

  to respond to the UCES reply, but she did not see it until it was too late. The BBB

  closed her complaint on or around March 17, 2021, and she did not think it would

  be worth her time and effort to reopen it. To this day, she has not been refunded

  her full $267.

     95. After our interview, Ms. Grant forwarded to copies of her bank statement

  showing the fees that UCES had taken. True and correct copies of some of the

  bank statements that Ms. Grant sent me are attached to this declaration as

  Attachment B.

                            Interview with Wanda Wilson

     96. On or around May 5, 2022, I interviewed Wanda Wilson of Loganville,

  Georgia.

     97. Ms. Wilson stated that in or around January 2019, she and her husband were

  seeking to repair their credit when she received a call from an old friend

  advertising the opportunity to join a company called Financial Education Services

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  (“FES”). This person told her that she was an FES agent. The agent told her that if

  she signed up for FES as well, she would receive a weekly paycheck as well as

  benefits that included credit repair programs, life insurance, written will services,

  and a company car. She was attracted to the lifestyle her friend promoted, such as

  being able to earn a salary from home and make enough money to retire early or

  pay off loans and debts.

     98. Ms. Wilson stated that when she signed up for the program, she was under

  the impression that she had enrolled with a company called FES. However, as she

  began receiving emails from the company and further information about the credit

  repair service (for example, information about letters that would get sent to the

  credit bureaus), she noticed these materials came from a company called United

  Credit Education Services (“UCES”) and had that name listed on documents and

  formal communications.

     99. Ms. Wilson stated that in or around early 2019, she attended an in-person

  meeting at the home of one of the company executives. FES sales directors,

  executive vice presidents, and executive directors were all in attendance. She

  joined FES as an agent by registering in-person during this meeting. The company

  representatives had brought tablets to the meeting so that they could enroll new

  consumers and have them sign all of the forms and other necessary paperwork at

  that meeting. She had to pay a $288 upfront fee to sign up.

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     100. Ms. Wilson stated that after she enrolled in FES, she began receiving

  constant phone calls from the woman who had recruited her and another sales

  director. They were telling her that she needed to get others to sign up for FES as

  well. She recruited her husband and other friends and family. Her husband also had

  to pay the $288 sign-up fee. At one point, she had enrolled more than five people

  and as many as eight people. She and all her enrollees joined because of the

  promised weekly payments and potential financial earnings, as well as the

  company’s credit repair services. FES told them that they would remove negative

  marks from their credit report, such as those from bankruptcies or late student loan

  payments, even if they had, in fact, filed for bankruptcy or failed to pay off their

  student loans.

     101. Ms. Wilson stated that FES provided her with a website and instructed her

  to set up business pages on social media to sell the company’s products, including

  credit repair packages, as well as to recruit new agents. FES also gave her products

  like FES car magnets and personalized business cards. She learned after she signed

  up that the company only awarded the other advertised benefits, like a life

  insurance policy or company-paid car, after one had been with the company for

  around 5 years or reached a certain number of recruits.

     102. Ms. Wilson stated that when she enrolled with FES in early 2019, she was

  told that agents were required to also have a credit repair account for which FES

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  charged $89 per month. FES waived the $89 per month credit repair fee for agents

  who recruited five other sales agents in a month. As long as one maintained this

  five-agent threshold, they didn’t have to pay the $89 per month. When she had

  recruited her requisite five friends or family to join the company, she received the

  services for free. However, at one point her enrollees began dropping out of the

  program, so FES again started charging her each month. The company required

  that one maintain at least five other sales agents in order to receive the free credit

  repair services. Between January 2019 and the following August, she paid about

  two or three $89 monthly fees for these months because she had fewer than five

  people signed up below her who were actively participating and selling.

     103. Ms. Wilson stated that additionally, once one signed up five people, one

  could move onto the next level and start climbing the sales ladder. By recruiting

  more people, one would qualify to receive increasing payments from FES.

     104. Ms. Wilson stated that the FES representative who signed her up, as well

  as the linked materials the agent sent, advertised that FES would pay its agents

  every week. After she signed up, she learned that FES paid agents based on how

  many other people they had signed up as agents, so that one made more money and

  received more perks if they signed up more people. However, once she signed up,

  she learned that FES only paid its agents if they had recruited at least five agents.

  FES paid her for signing people up in early 2019, when she was newer to the

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  program and had five recruited agents. She was motivated to sign people up

  because she understood that she would receive a greater financial bonus from FES

  if she enrolled more agents.

     105. Ms. Wilson stated that after she signed new agents up, she learned that

  FES required them to continue recruiting and signing people up. Eventually, during

  the summer of 2019, being an agent with FES started costing her so much money

  that she could no longer afford it. She incurred advertising costs because FES

  instructed agents to get business cards, take professional pictures to advertise on

  social media, and actively recruit new people. For example, she recalled paying for

  batches of flyers in her attempt to advertise as they had directed and spending a lot

  of time trying to recruit new people every day. When her expenses began to

  outweigh what FES had paid her, she closed her accounts.

     106. Ms. Wilson stated that she also stopped being an agent because she

  became exasperated with the company’s relentless pressure to sign up new people.

  The agent recruiting never ended: the company kept asking her and those she had

  signed up to sign up more people.

     107. Ms. Wilson stated that she received about two payments from FES during

  her months as an agent. She understood that FES was paying her to sign new

  people up as FES agents. In total, FES paid her a couple hundred dollars, via direct

  deposit.

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     108. Ms. Wilson stated that every morning at 8am, there were call-in meetings

  over Zoom for herself and other agents. She attended these meetings almost daily

  for the first three months she was enrolled with FES (early 2019). FES executives

  would make a speech each morning that often revolved around going out each day

  to recruit new people and presented on things like income producing activities

  (IPA) agents should be doing.

     109. Ms. Wilson stated that FES also held meetings about once every two

  months for FES executives and agents. People would travel from out of state for

  these meetings, which were held at one of the FES executive’s houses. These

  luxurious houses showed her the kind of lifestyle that she felt I could also achieve

  if she continued to climb the ladder and advance through the ranks by recruiting

  agents and selling credit repair services. At these meetings, FES executives would

  try to go through the contact list on her phone and call people to get them to sign

  up with the company. She never received any training in actually repairing credit at

  the meetings or otherwise from FES or the agent that initially contacted her.

     110. Ms. Wilson stated that her credit repair package consisted of letters UCES

  provided her for the credit bureaus. These letters disputed various negative marks

  on her credit reports by saying things like ‘this account doesn’t belong to me.’

  UCES directed her to sign the copies and then mail them to the credit bureaus.



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     111. Ms. Wilson stated that at one point, she got frustrated and called customer

  service. She could not get a straight answer. When she had signed up, FES told her

  that it employed attorneys for the company and its agents. However, when she

  asked to speak with one of these attorneys, she was always told that they were not

  available.

     112. Ms. Wilson stated that she was enrolled with FES for seven or eight

  months. Although she regularly checked her credit report, she did not notice any

  meaningful improvements to her credit score during this time. Shewould not have

  enrolled if she had known the company would not repair her credit.

     113. Ms. Wilson stated that in or around August 2019, when she stopped being

  an agent, she also closed her credit repair account with FES because she was

  seeing no improvement to her credit score and she could not afford to pay

  $89/month.

     114. Ms. Wilson stated that in or around the spring of 2020, she requested a

  refund on the monthly fees she had paid for the credit repair service through the

  Better Business Bureau. FES told her that they wouldn’t issue her a refund because

  they had paid her several hundred dollars for her work as an agent. However, she

  paid a total of about $500 to FES, so she lost money as a result of enrolling with

  them. She also never received the promised improvement to her credit score. She

  also never received the agent benefits promoted at the sales meetings and by the

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  agent who recruited her, such as a company car, a luxury home, or sufficient

  income to retire early and pay off her debts.

     115. Ms. Wilson stated that she would not have enrolled to be an agent with

  FES if she had known how much they would ultimately charge her in fees and that

  she would lose money as opposed to earning substantial income.

                            Interview with Dessie Thomas

     116. On or around April 26, 2021, I interviewed Dessie Thomas of Albany,

  Georgia.

     117. Ms. Thomas stated that on or around late November or early December of

  2017, she was scrolling through her Facebook timeline when she came across a

  post from someone she was not Facebook friends with. The individual had shared

  another individual’s post about some business opportunity related to credit repair.

  The post included a caption featuring positive accolades about the individual who

  made the original post, referring to him as their “mentor” and thanking him for

  helping them accomplish certain goals. It was pretty clear that this mentor was a

  businessman of some sort, which caught her eye. She had been interested in

  dabbling in entrepreneurship at the time and was looking for a business she could

  join to gain some more entrepreneurial experience before launching her own

  business. She also wanted to find a business mentor that could help her in her



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  entrepreneurship journey. As such, she decided to reach out to the mentor on

  Facebook Messenger.

     118. Ms. Thomas stated that she messaged the man and told him that she was

  looking for a business mentor. The mentor then sent her a video about the credit

  repair service company he worked for, known as Financial Education Services

  (“FES”). The video provided a snapshot of the amount of Americans currently in

  debt, as well as how many Americans possess a certain credit score. The video

  then went on to promote credit repair and FES’s business opportunity. The

  business opportunity being presented was essentially an opportunity to sell credit

  repair service packages to consumers on behalf of FES as well as to recruit other

  sales agents. The video explained how much money one could make working as an

  agent for the company, illustrated by a compensation chart which highlighted

  compensation rates for the different agent ranks. At higher ranks, one could also

  receive $600 monthly payments towards an Audi as well. At a higher level, one

  could even receive payments towards their mortgage. The video described agents

  as “credit repair specialists” receiving “financial education training” who would

  oversee “financial education franchises.”

     119. Ms. Thomas stated that after she watched the video, she reached back out

  to the mentor over Messenger. The mentor further explained that FES would help

  set agents up as if they were developing their own financial education franchises,

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  and that the opportunity would help them build financial freedom. Agents would

  be provided with a mentor, receive training and training materials, and officially be

  deemed “credit repair specialists.” At the time, she thought that if she joined as an

  agent, she would be trained on credit repair and financial education, which were

  lessons she would then pass on to the consumers she recruited. She also thought

  agents were the ones directly repairing consumers’ credit.

     120. Ms. Thomas stated that her mentor also explained that agents were

  required to register for FES’s credit repair services as well, regardless of whether

  they needed credit repair or not. The mentor claimed that this credit repair service

  could raise one’s score up to 100 points in 45-90 days. If the agents managed to

  recruit and/or maintain a minimum of five active, paying customers on a monthly

  basis, their own credit repair services would be provided to them for free. These

  customers could be new agents or new credit repair consumers. Individuals they

  had recruited in previous months who were continuing to pay their monthly fees

  would count under their five. However, if agents failed to bring in the five new

  consumers, they would be charged an $89 fee for that month. Agents were not

  allowed to opt out of this credit repair service. The mentor claimed that agents

  would have “a team behind them helping to repair consumers’ credit.” She

  assumed this meant her credit would get repaired by her mentor.

     121. Ms. Thomas stated that the mentor had given the impression that earning

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  money through FES would be easy. He claimed to have enrolled 14 people into

  FES soon after joining the company, which was in part made possible by having

  his mentors back him up and tell him exactly what to say. These claims and the

  mentor’s stories of his early successes with the company gave her the impression

  that she could earn between $200-$500 a month working with FES. As such, after

  watching the video and speaking with her mentor over Facebook Messenger, she

  felt that this opportunity with FES would give her an idea of what being an

  entrepreneur was like, and thus decided she wanted to register as an agent.

     122. Ms. Thomas stated that the registration cost to become an FES agent was

  $288, which she was not able to afford at that particular moment. However, she let

  the mentor know she was interested in eventually becoming an agent. About two

  weeks later, in mid-December 2017, she reached back out to the mentor to confirm

  she was ready to register. He sent her a link to a website where she would complete

  her own agent registration. She recalled submitting her name, address, phone

  number, debit/credit card information, and social security number through the link.

  She completed this registration on or around December 15, 2017.

     123. Ms. Thomas stated that she did not sign anything by hand during this

  registration process. She could not remember if she signed anything digitally on

  the website. She did not recall receiving a written statement called “Consumer

  Credit File Rights Under State and Federal Law” or a contract or contract

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  cancellation instruction form. Throughout her time as an FES agent, she had no

  recollection of ever asking any consumer she recruited to sign any type of form or

  paper.

     124. Ms. Thomas stated that she was also not given any estimate on when the

  credit repair services she would be receiving would be completed. This is because

  there was no official start and end date for the service.

     125. Ms. Thomas stated that something she would go on to learn about the

  registration process is that FES’s credit repair services were open to businesses as

  well as individuals. Consumers could register for FES under their company’s

  name, in which case they would have to submit business-related information such

  as the company’s EIN.

     126. Ms. Thomas stated that after completing her FES registration, she went

  through agent training. Agent training consisted of watching pre-recorded trainings

  and pamphlets available on the FES agent site, known as the “back office,” as well

  as through Facebook lives and Zoom meetings, and conversations with their

  mentors. As she previously mentioned, she had expected to undergo credit repair

  and financial education training, but that’s not what the actual training consisted of

  at all. Instead, the training focused on learning about FES and how to best pitch the

  company in order to recruit new agents and credit repair customers. There was not

  a single lesson on how to repair credit. She would go on to learn that agents

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  themselves were not the ones directly repairing consumers’ credit. The training

  lacking any credit repair education was the first thing that made her a little

  concerned and skeptical about FES.

     127. Ms. Thomas stated that the Zoom meetings she previously mentioned were

  held on a weekly basis. The meetings generally took place on Mondays or

  Thursdays, and occasionally both. They were held by higher-up agents for their

  “teams,” which basically consisted of their downlines. A “downline” referred to

  the agents one brought into the company, and the agents those agents brought into

  the company, and so forth. These meetings were not mandatory to attend, but were

  highly recommended. Her mentor claimed that successful agents attended these

  meetings. These meetings were split into two parts. The first part of these meetings

  was dedicated towards prospective credit repair service consumers or agents. If the

  agents were pitching FES to anyone, they were encouraged to invite these

  prospects to the first part of the Zoom meetings, where they would witness a

  presentation about the benefits of joining the company. The second part of these

  Zoom meetings was dedicated towards training existing agents. She said these

  meetings averaged about 15-20 participants.

     128. Ms. Thomas stated that she learned through her mentor and the FES

  trainings that there were different ways that agents could make money through

  FES. One way that agents could make money was via commission profits from

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  selling FES’s credit repair service to consumers. The registration cost for those

  interested in purchasing the credit repair service was usually about $189. This was

  a one-time fee that you paid during registration, and consumers were then required

  to pay recurring monthly fees of $89 for every month they continued using the

  service. However, on certain occasions, consumers could purchase the credit repair

  service at a discounted rate of $139, and sometimes even for as low as $89. If an

  agent sold the service to a consumer at the $189 range, they would pocket $100

  from the sale. Selling the service to a consumer for $139 resulted in a $50 profit.

  Selling it for $89 would yield a $0 profit, but would count towards one’s five-

  person-per-month quota. Agents received weekly checks.

     129. Ms. Thomas stated that agents could also make profits off of recruiting

  new agents into FES. One’s official FES agent rank determined the amount they

  would profit off of every new agent they recruited. As an example, Agents, which

  were the lowest-level ranking agents, would receive $100 for each new agent

  recruit. Field Trainers, which were one rank above Agents, received $160 for new

  agent recruits. This per-agent figure would increase as one traveled up the ranks.

  The rank above a Field Trainer was a Senior Field Trainer, then a Sales Director,

  then Regional Sales Director, Executive Sales Director, Vice President, Regional

  Vice President, Executive Vice President, and so on.



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     130. Ms. Thomas stated that in addition to commission payments from

  registering new credit repair consumers and agents, agents would also make a

  small commission any time an individual they had recruited in a previous month

  made a monthly payment to FES. She believed this commission was around $12

  per consumer per month.

     131. Ms. Thomas stated that on top of profits, agents would also receive value

  points by making a credit repair service sale or recruiting new agents into FES. At

  FES, an agent’s “value” was defined as the combination of monthly-paying credit

  repair consumers and agents in one’s downline. An agent’s value points would

  help determine their rank. One either had to maintain or earn additional value

  points each month in order to remain at their rank or advance to the next one.

  Value points would get reset at the end of every month, which is why agents had to

  ensure that the individuals they recruited into the company remained active and

  continued paying their monthly payments. Ranks were not permanent; if the people

  that agents signed up were leaving the company and one was unable to recruit

  replacements in a given month, then FES would demote their agent rank. Despite

  the fact that value points got reset after every month, there would be a grace period

  prior to a demotion for anyone who lost a significant amount of points after a

  successful month.

     132. Ms. Thomas stated that, with respect to the credit repair services, agents

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  generally had the choice on whether to charge consumers the $189, $139, or $89

  price tags. Selling the service at $189 was obviously ideal since it would yield the

  highest profit. However, mentors would occasionally encourage their downline to

  run “sales” in which the price would drop to $139 or $89 in order to make the

  services more financially accessible, which would in turn help agents recruit more

  credit repair consumers into the company. This was generally done by agents who

  wanted to collect enough value points to move up to the next rank. Agents would

  also lower the price of the credit repair service and provide “discounts” in order to

  recruit consumers who appeared interested in the services but were “playing hard

  to get.”

     133. Ms. Thomas stated that even though she did not recall there being a limit

  on how many new agents one could recruit into FES at any given time, most agents

  did not place all their new agent recruits directly under themselves. An agent’s

  downline needed to have a certain structure for an agent to be eligible to move up

  to a higher rank. Simply registering people as agents and collecting value points

  was not enough to move one up the ranks alone; these newly registered agents also

  had to then recruit new agents into their downlines for them to be able to rise up a

  rank. One’s rank was, in part, determined by how many levels of downline they

  had beneath them, which meant that one’s agent recruits had to be active and

  successful FES agents if they wanted a promotion. As such, if a member of one’s

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  downline was not bringing in any new agents, they might have to place a new

  agent they personally recruited under that inactive agent instead of themselves.

  Even though one would not personally earn profits from that placement, it would

  increase their chances of promotion, and decrease their chances of demotion.

     134. Ms. Thomas stated that in terms of optimal downline structuring, her

  mentor explained to her that she should work on building one leg of her downline

  at a time. For example, instead of creating three legs of downline with three legs of

  people (meaning three people would be exactly one agent rank below hers), she

  was encouraged to build two legs, one of which went an extra level deeper. She put

  her mentor’s advice into practice after she registered three family members of hers

  into FES. She first placed two of these family members directly underneath her.

  She then placed the third family member underneath one of the two that were

  under her. As previously mentioned, having enough value points alone would not

  automatically result in a promotion. Managing this type of downline structuring

  was also crucially important.

     135. Ms. Thomas stated that agents also would engage in “sponsoring” new

  agents, a tactic her mentor encouraged her to use. “Sponsoring” meant that one

  would pay for part or all of a new agent recruit’s initial $288 fee in order to get the

  recruit to sign up for FES. This practice would help one maintain enough people in

  their downline to keep their current agent rank. Whether a consumer was required

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  to pay one back was simply based on the agreement they had arranged with the

  person they sponsored. However, even in cases where a consumer was not required

  to pay the agent back, the other agents would claim that by sponsoring new agents,

  they would “get the money back eventually” simply by having the new consumer

  in their downline. It seemed to her that “sponsoring” was a widespread recruitment

  tactic among FES agents.

     136. Ms. Thomas stated that after becoming an agent, her mentor, who was now

  her direct upline, instructed her to write down the names of 50 people she knew.

  An “upline” referred to the agent that brought one into the company, as well as the

  agent that brought that agent into the company, and so on. He then provided her

  with sales scripts, one of which she was supposed to use with the 50 people she’d

  written down on her list.

     137. Ms. Thomas stated that her mentor also sent her an ad template to post on

  whichever social media accounts she had. The ad was a screenshot of a recycled

  credit analysis showing that someone’s credit score increased about 50 points

  thanks to FES’s credit repair service. She felt uncomfortable posting this

  screenshot because she did not know the individual whose credit had supposedly

  increased by 50 points. She did not even know if they were a real FES client. At

  one point, her mentor encouraged her to post a version of this ad template in which

  the consumer whose credit had supposedly been repaired had the first name

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  “Thomas,” which was her last name. She listened to her mentor and posted the ad

  template on Facebook, and many of her Facebook friends assumed that because her

  name was listed, the ad was referring to her own credit. Posting this ad felt

  dishonest to her.

     138. Ms. Thomas stated that when potential consumers would contact her about

  FES, her mentor required her to read off the same lines from the same scripts in an

  effort to get them registered either as new credit repair consumers or new agents. If

  they were interested in registering, she would get them on a group call with her

  mentor, who would take over for her and pitch to them the opportunity to join the

  company. He did this until she felt more confident taking over. On these calls, her

  mentor would make vague claims about how the consumer’s credit could increase

  by a high amount of points, sometimes even up to 100. He would also tell

  consumers that their credit score would increase within 45-90 days, which was a

  direct time range we were trained to advertise. The mentor would also claim that

  bankruptcies and student loans could be removed from consumers’ credit reports.

     139. Ms. Thomas stated that even though consumers were free to register

  themselves on the FES website as she had done for herself, agents were also able

  to register consumers directly. In order for a consumer to sign themselves up, they

  would need to receive a specialized link from their agent.



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     140. Ms. Thomas stated that being an FES agent was very difficult for her in

  the beginning. She was genuinely under the impression that she would have a role

  in the credit repair process, but she quickly learned that agents were solely selling

  this product on behalf of FES corporate and trying to recruit people into their

  downlines. So if agents were not the ones helping consumers repair their credit, she

  wondered, who was? She soon learned that FES corporate was supposed to repair

  consumers’ credit through a dispute letter process. She learned about this process

  after being required to register herself for the credit repair services in order to

  become an agent. FES would write form-like, undetailed dispute letters for

  consumers that looked like a high schooler could have written them. These letters

  would have no specific information in them. They merely listed every negative

  account entry a particular consumer had present on their credit report and claimed

  every single one of them was false and thus needed to be closed. FES corporate

  would send these letters out to consumers who were then instructed to print, sign,

  and subsequently send them out to the three credit bureaus all by themselves.

     141. Ms. Thomas stated that her mentor claimed that the credit bureaus were

  required to respond to these dispute letters within 30-45 days. Since she knew her

  mentor had a close relationship with FES corporate, she assumed he got this claim

  directly from them, which legitimized it to her. However, many of the consumers

  she registered for the credit repair services did not hear back from the bureaus

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  within 45 days. Whenever this occurred, she would contact FES corporate on their

  behalf to inquire about the delay. One excuse FES oftentimes gave was that her

  customers were not hearing back because they had failed or forgotten to submit

  their driver’s licenses to the credit bureaus along with their dispute letters.

  However, FES did not inform consumers ahead of time that they were required to

  submit their driver’s licenses. She would ask FES why they had not communicated

  this necessity to the consumers, and they never provided her with a legitimate

  answer. All in all, FES was not being transparent with her or her consumers about

  the dispute letter and credit repair process, which gradually made her begin

  viewing the company in a different, less positive light.

     142. Ms. Thomas stated that in or around February of 2018, she attended an

  FES convention in Las Vegas, Nevada. She initially learned about this convention

  through her mentor, who was going to be attending. The convention was discussed

  quite a bit in the Facebook Live posts leading up to the event. She wanted to attend

  the convention because of the in-person training that would supposedly occur, as

  well as the team building exercises and activities. She also wanted to network with

  FES agents in other cities and regions. There were purportedly going to be

  opportunities to win cash prizes.

     143. Ms. Thomas stated that the lessons taught during the trainings at the

  convention were the exact same as the ones taught during the agent trainings she

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  had already undergone, in that they lacked any credit repair education and centered

  on recruitment strategies. The convention was disorganized, and it was a very

  negative experience for her.

     144. Ms. Thomas stated that as a result of her negative experience at this

  convention, she began to notice various holes in the pitches that agents were

  making to potential new agents and credit repair consumers they were attempting

  to recruit into FES. For example, she learned through training, the FES

  compensation plan booklet, and the recruitment video her agent had sent her that

  on top of monetary commissions, FES would sometimes gift its successful agents

  with monthly payments towards an Audi, and sometimes even offer to pay for a

  house. However, in order to qualify for those monthly Audi payments, agents and

  their entire downline had to be bringing in a collective $100,000 worth of business

  per month. Based on her experiences speaking with other agents, this just simply

  did not seem realistic for the vast majority of agents, regardless of how hard they

  worked. However, she noticed that when agents would advertise FES on their

  Facebook feeds, they would post about these benefits as if they were realistic goals

  that they had achieved and could be achieved by anybody else with hard work,

  thereby promoting a false illusion of what one could gain by registering as an agent

  with the company.



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     145. Ms. Thomas stated that she learned, as an FES agent, that the credit repair

  letters did not seem to work and sometime her customers’ credit got worse after

  signing up with FES. As an example, she recalled one customer of hers had a credit

  score in the 620-650 range when she initially registered for the credit repair

  service. However, she learned from speaking to the customer that their credit score

  dropped dramatically lower, to less than 400, after signing up with FES.

     146. Ms. Thomas stated that she did not making the money she expected from

  FES. She began sponsoring the agents she was recruiting, but was losing money in

  the process. However, she kept doing it because she needed to grow her downline

  if she wanted to get promoted to a higher agent rank.

     147. Ms. Thomas stated that this all led her to became exhausted working with

  FES. She noticed the “hustle and grind” culture was popular among FES agents,

  but felt they were taking it to an unhealthy level. Agents would promote the

  lifestyle of working your “business” all day long with no days off, claiming this

  was the way you would be successful with FES. Whenever she mentioned to her

  mentor that she was considering leaving the company, he would ask her, “Do you

  want to be remembered as a quitter?” He and other mentors would use reverse

  psychology tactics such as that in order to get agents in their downline to stay with

  the company. As she discussed above, if their downlines dropped out of the

  company, this would both keep the mentors from potentially getting promoted and

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  could make it easier for them to get demoted. At the time, she thought the mentors

  resorted to these guilt tactics to maintain their downlines.

     148. Ms. Thomas stated that because of these growing concerns, around

  August 2018 she stopped communicating with FES and her mentor, and stopped

  working her agent business.

     149. Ms. Thomas stated that about a month after she had stopped doing agent

  work, around September 2018, her mentor reached out to her to inquire about her

  silence. She told him she needed to take a mental health break from FES. The

  mentor then began apologizing to her for having “failed” her as a mentor and not

  dedicating more effort towards helping her grow with the company. He suggested

  she try the company out just a little bit longer. She ended up briefly returning to

  FES, but once she realized that his intentions were likely self-serving and that he

  was only guilting her for the purpose of maintaining his downline, she left again

  for good. She left by calling FES corporate and stating she did not want to be an

  agent anymore and that she wanted to leave the company for good.

     150. Ms. Thomas stated that she ended up filing a complaint against FES with

  the BBB on August 30, 2019, requesting a refund of $1,500, which represented the

  money she had spent sponsoring new agents. She filed this complaint in part

  because she was fed up with the misinformation FES was spreading to both its

  consumers and agents and felt something needed to be done about it.

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     151. Ms. Thomas stated that this BBB complaint led an FES upper

  management employee to reach out to her claiming FES would not refund her

  because she had generated profits and commissions throughout her time as an

  agent. They claimed that FES corporate had never encouraged its agents to sponsor

  people.

     152. Ms. Thomas stated that even though she was receiving credit repair

  services through FES throughout her time as an agent, her credit score remained

  the same the entire time. Despite sending off the dispute letters, none of her

  negative account entries were ever removed from her credit report.

     153. Ms. Thomas stated that throughout her nine months as an FES agent, she

  believed she advanced to either the Field Trainer or Senior Field Trainer rank and

  generated around $2,300 total in commissions. The $2,300 in commissions was

  below her expectations, as she had initially hoped to make at least $500 a month

  working with FES. If this had been the case, she would have generated $4,500

  minimum. Despite these accomplishments, she wished she had never joined FES in

  the first place. She felt as though the company thrived off misinforming its

  consumers, which in turn damages the personal reputation of its agents. She lost

  money as well as credibility in both the community and with long-time friends

  because of FES and the backhanded practices that the company and its

  representatives follow, and no amount of money or profits can change this.

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     154. After our interview, Ms. Thomas forwarded to me several documents

  including scripts and other marketing materials she received from her mentor and

  other agents as well as screen captures from the various social media accounts of

  other agents. True and correct copies of some of these documents that Ms.

  Thomas sent me are attached to this declaration as Attachment C.

                           Interview with Cari-Ann Walker

     155. On or around January 20, 2022, I interviewed Cari-Ann Walker of

  Pompano Beach, Florida.

     156. Ms. Walker stated that in or around late 2020 or early 2021, she was

  scrolling through Instagram when she came across a post advertising a credit repair

  opportunity. The individual posting had shared something about recently obtaining

  a new home or car and claiming that “this could be you too,” but that one would

  need to have good credit before being able to purchase their own car or home. The

  post encouraged those interested in learning more about the opportunity to leave a

  comment or direct message the user. She did not personally know the user who had

  posted the opportunity. She saw that her car insurance agent followed the user,

  which was likely why the post showed up on her feed. Regardless, she did not pay

  too much attention to these details, as she was desperate for a credit repair

  opportunity at the time and was curious to learn more.

     157. Ms. Walker stated that she scrolled through the user’s profile for a little

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  and saw posts explaining that this credit repair service would remove all negative

  accounts from one’s credit report. She also noticed various posts advertising an

  opportunity to make money, but she was exclusively interested in the credit repair

  opportunity.

     158. Ms. Walker stated that she eventually decided to reach out to this user via

  direct message. This individual told her that this program, United Credit Education

  Services (“UCES”), would help increase her credit score in 6 months-1 year. The

  individual, who was an agent for UCES, claimed UCES would ensure that her

  credit score would be good enough to help her obtain the same items she had been

  advertising in her post, such as a house and car. The agent further explained that on

  top of credit repair, UCES also provided additional services such as financial

  education, credit monitoring, and life insurance. These services were supposedly

  included in the same credit repair package.

     159. Ms. Walker stated that the agent followed by sending her a link to the

  UCES customer portal so that she could register herself for the service. She

  recalled submitting her personal information on the portal, including her date of

  birth and social security number. As part of the registration, she recalled signing or

  approving Terms & Conditions that claimed her credit score would increase based

  on her own efforts. However, she did not recall signing or receiving a contract or

  contract cancellation form, or a written document called “Consumer Credit File

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  Rights Under State and Federal Law.” She paid an initial fee of $189 to register for

  the service. The service also had $89 monthly fees for each month someone

  remained enrolled with UCES.

     160. Ms. Walker stated that after completing her registration, she received an

  email from UCES informing her that her dispute letters were ready. She had not

  previously known how her credit was going to be repaired, as the agent had not

  explained it to her. The dispute letters referenced in this email were just form

  templates disputing negative entries on her credit report. She was required to print

  these template letters out, sign them, and then mail them directly to the credit

  bureaus. These instructions frustrated her, as she was not aware that she was going

  to have to do all this extra work herself. She did not appreciate that her agent had

  not made her aware of these steps in their conversation or in the agent’s

  advertising.

     161. Ms. Walker stated that she was enrolled with UCES for about three

  months, after which she noticed that no changes had been made to her credit. This

  led her to decide to terminate her registration. She called UCES to officially cancel

  her registration. She cancelled her registration in or around March of 2021 and

  filed a complaint against UCES with the BBB on March 12, 2021. Following her

  BBB complaint, UCES issued her a refund for the $189 registration fee.

  Unfortunately, UCES never refunded her for the additional two months’ worth of

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  monthly fees she was billed.

                           Interview with Britt Lowe Smith

     162. On or around August 6, 2020, I interviewed Britt Lowe Smith of Lawton,

  Oklahoma.

     163. Ms. Smith stated that in or around April of 2021, she posted in an

  entrepreneur Facebook group that she was a member of. She was dealing with a

  medical condition which was keeping her out of work, and she was specifically

  seeking help with budgeting as a result. A woman named Naomi who was also in

  the Facebook group, but who she did not know personally, contacted her through

  Facebook Messenger in response to the post. Naomi claimed she was an agent for a

  company called Financial Education Services (“FES”). Ms. Smith asked Naomi if

  FES would be able to help get her out of debt, and Naomi claimed that FES could

  improve her credit score.

     164. Ms. Smith stated that Naomi sent her a link to a Zoom meeting that would

  teach her more about FES and its credit repair service. In the Zoom meeting, those

  leading it claimed that those enrolled in the FES credit repair service could see

  their credit score increase by up to 200 points. They shared testimonials of

  individuals who enrolled in the credit repair service when their credit scores were

  between 400-500, and saw it increase up to 600+ and 700+ thanks to FES. They

  also explained that FES provided will writing and identity theft services. It was

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  further noted that the credit repair service was technically run under the name

  United Credit Education Services (“UCES”), despite belonging to the same

  company as FES.

     165. Ms. Smith stated that the individuals running the Zoom revealed

  themselves to be agents for FES and also spoke about a connected home-based

  business opportunity in which those enrolled in the credit repair service enrolled

  other people into the company, both as agents and credit repair consumers, and

  received commission payments for doing so.

     166. Ms. Smith stated that the agents stated the FES charged a $288 registration

  fee for those interested in participating in the joint business opportunity-credit

  repair service. That $288 fee was comprised of a $199 initial registration charge,

  and the $89 monthly payment for the UCES credit repair service that the agents

  were required to be enrolled in. Ms. Smith was under the impression that you could

  not enroll in the credit repair service without also enrolling in the business

  opportunity, so she decided to register for both.

     167. Ms. Smith stated that she reached back out to Naomi, who helped her

  register for FES the day following the Zoom. She had to provide FES with her

  name, address, social security number, and email address. During the registration

  process, she did not receive a written statement called “Consumer Credit File

  Rights Under State and Federal Law.” She also did not receive a contract or

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  contract cancellation form. She paid the $288 registration fee using her credit card.

     168. Ms. Smith stated that once she finalized her registration, Naomi instructed

  her to attend mandatory Zoom meetings that exclusively discussed agent logistics

  and information. During these Zooms, she learned that if she successfully recruited

  5 people or more into the company in any given month, the $89 monthly fee for the

  credit repair service would be waived for her for that particular month. To rise up

  the ranks, however, one would have to get those 5 people they registered to then go

  ahead and register 5 people underneath them. This effectively meant that one had

  to build a multi-legged downline to be promoted. Your downline referred to the

  agents you registered with UCES, as well as the agents they then registered with

  UCES, and so on.

     169. Ms. Smith stated that during these meetings, she also learned that one

  could, in fact, be registered for the credit repair service without also being

  registered as an agent.

     170. Ms. Smith stated that a compensation chart would be shared in these Zoom

  meetings that highlighted different compensation rates depending on how many

  agents and credit repair consumers one successfully registered with the company.

  She recalled higher commissions available for new agent registrations.

     171. Ms. Smith stated that during these meetings, there was heavy emphasis on

  advertising FES. The new agents were instructed to advertise on every social

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  media platform they owned. Naomi and her agent, Ron, sent her ads that they

  wanted her to post, and also requested that she create her own ads. These ads

  would say stuff such as: “Do you want to work from home?”, “Do you want to

  improve your credit score?”, and “Make money working from home.” Naomi and

  Ron were very pushy and demanding towards her and told her that her pictures

  were not good enough and that she was not posting on social media enough.

     172. Ms. Smith stated that she was instructed to watch additional training

  “crash course” videos that would supposedly teach her how to sell people on the

  credit repair service and business opportunity. Unfortunately, she had issues

  accessing the videos on the FES website and was unable to watch any of them.

  There were sales scripts made available to her on the website as well, but she did

  not feel confident reading from them without obtaining the additional training from

  the videos. According to the agents on the Zoom, once the new agents began

  recruitment attempts, they would have to go by the script verbatim and read it off

  word-for-word.

     173. Ms. Smith stated that she was enrolled as an agent with FES for about a

  month, from April 2021 to May 2021. Over the course of her monthlong

  enrollment, she felt like her agents were placing an overwhelming amount of

  pressure on her to sell a product without adequately preparing or training her to do

  so and were not accepting of the fact that she had a debilitating medical condition

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  and life outside of FES. She did not enroll anyone into FES during her month as an

  agent.

     174. Ms. Smith stated that she came to learn that the manner in which

  FES/UCES was supposedly going to repair her credit was through a dispute letter

  process. UCES would draft form template letters disputing negative accounts on

  her credit report, and then send the letters to her so that she could print them out,

  sign them, and subsequently mail them off to the three credit bureaus. She was not

  aware of this prior to her registration and did not understand why anyone would

  pay $89 a month to write these letters if they, as consumers, could just write

  directly to the credit bureaus themselves. She never actually received the letters

  that UCES was purportedly going to write on her behalf.

     175. Ms. Smith stated that in May of 2021, a customer service representative

  called her to congratulate her for joining the team. However, by that point, she

  knew she wanted to leave the company. She did not feel that the credit repair

  service was something worth paying $89 a month for, as she could just send letters

  off to the credit bureaus herself. She also did not appreciate the pressure to enroll a

  minimum of five new people into the company per month, or the lack of empathy

  she was experiencing at the hands of Naomi, Ron, and the other agents for her

  inability to do so. Her struggles in accessing the training videos exasperated as

  well. For these reasons, she immediately informed the customer service

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  representative that she wished to cancel her registration with FES. The customer

  service representative agreed to cancel her registration, but refused to issue her the

  refund she was also requesting.

     176. Ms. Smith stated that FES’ refusal to issue her a refund led her to submit a

  complaint against FES to the BBB on or around May 25, 2021. FES did end up

  responding to her complaint and refunded her the $288, but requested that she

  remove her BBB complaint. She ultimately decided against removing her

  complaint after reading through the BBB complaints of other consumers alleging

  that FES had not refunded their payments. She was surprised that FES even has a

  BBB page to begin with, as she does not feel that their operations are legitimate

  nor that they are a real company.

     177. Ms. Smith stated that after she left FES, Ron reached out to her on

  Facebook and accused her of being lazy and attempted badgering her to get her to

  re-enroll as an agent. She ultimately had to block Ron on Facebook.

     178. After our interview, Ms. Smith forwarded to me several emails she

  received from FES. True and correct copies of some of the emails that Ms. Smith

  sent me are attached to this declaration as Attachment D.

                    PRESERVATION OF ONLINE CONTENT

                                      Web Captures



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     179. On October 22, 2020, I remotely used the computers in the FTC’s Internet

  Lab to visit the website with the domain name

  www.financialeducationservices.com. After reviewing the website, I took

  screenshots using SnagIt, a software program that allows users to capture a picture

  of the computer screen, a portion of the screen, or an entire website, and save the

  image electronically as a PNG file. I also took screenshots using the screenshot

  feature on Mozilla Firefox. After capturing several pages on the website, I

  compared the PNG files I saved from Mozilla Firefox and SnagIt to the website

  and verified that the PNGs accurately reflected the pages of the website I

  preserved. I then transferred the PNG files via secure file transfer to the FTC’s

  network. I then saved the PNG files on the FTC’s secured network, in a folder with

  limited access. Attached as Attachment E is a true and correct copy of webpages

  from the www.financialeducationservices.com website that I captured on October

  22, 2020.

     180. On April 8, 2021, I remotely used the computers in the FTC’s Internet Lab

  to visit the website with the domain name www.financialeducationservices.com.

  After reviewing the website, I took screenshots using SnagIt. After capturing

  several pages on the website, I compared the PNG files I saved from SnagIt to the

  website and verified that the PNGs accurately reflected the pages of the website I

  preserved. I then transferred the PNG files via secure file transfer to the FTC’s

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  network. I then saved the PNG files on the FTC’s secured network, in a folder with

  limited access.

     181. On April 8, 2021, I remotely used the computers in the FTC’s Internet Lab

  to visit the website with the domain name www.creditmyrent.com. After reviewing

  the website, I took screenshots using SnagIt, and subsequently saved the image

  electronically as a PNG file. After capturing several pages on the website, I

  compared the PNG files I saved from SnagIt to the website and verified that the

  PNGs accurately reflected the pages of the website I preserved. I then transferred

  the PNG files via secure file transfer to the FTC’s network. I then saved the PNG

  files on the FTC’s secured network, in a folder with limited access. Attached as

  Attachment F is a true and correct copy of webpages from the

  www.financialeducationservices.com and www.creditmyrent.com websites that I

  captured on April 8, 2021.

     182. On October 18, 2021, and October 19, 2021, I remotely used the

  computers in the FTC’s Internet Lab to visit the website with the domain name

  https://myuwe.net/. After reviewing the website, I took screenshots using SnagIt,

  and subsequently saved the image electronically as a PNG file. After capturing

  several pages on the website, I compared the PNG files I saved from Snagit to the

  website and verified that the PNGs accurately reflected the pages of the website I

  preserved. I then transferred the PNG files via secure file transfer to the FTC’s

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  network. I then saved the PNG files on the FTC’s secured network, in a folder with

  limited access. Attached as Attachment G is a true and correct copy of webpages

  from the https://myuwe.net/ website that I captured on October 18. 2021, and

  October 19, 2021.

                                Social Media Captures

                                        YouTube

     183. In December 2021, I preserved YouTube videos related to FES marketing,

  the FES compensation plan, and the FES/UCES credit repair service on various

  YouTube channels. I remotely used the computers in the FTC’s Internet Lab to

  visit YouTube.com. I searched for these FES videos using various search terms.

  Using the Google Chrome web browser, I viewed and navigated through several

  videos that appeared in the YouTube search results. I identified several videos that

  had been posted recently and discussed the company in some detail, and

  downloaded these videos using the application 4K Video Downloader. I

  downloaded these videos directly from YouTube in an mp4 format that is readily

  viewable offline. For each video that I downloaded, I also used SnagIt to capture a

  screenshot of the webpage displaying the video, and subsequently saved the image

  electronically as a PNG file. I then transferred the video files and screenshot

  images via secure file transfer to the FTC’s network. I then saved the video files

  and screenshots on the FTC’s secured network, in a folder with limited access.

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     184. The video files I downloaded from YouTube in December 2021 are

  labeled:

             a. “2021 UCES & UWE presentation.mp4”

             b. “BEST UWE PRESENTATION.mp4”

             c. “How to launch your United wealth Education Business.mp4”

             d. “How to use Social media to build Your United wealth education

                Business.mp4”

             e. “NEW UECS AND UWE CREDIT REPAIR OVERVIEW.mp4”

             f. “The Best United Wealth Education Overview. #networkmarketing

                #uwe.mp4”

             g. “The Secret to Financial Literacy!!! #uwe #credit #award #winning

                #850 #uces #protectionplan.mp4.mp4”

             h. “The secret to residual income and financial freedom!.mp4”

             i. “United Wealth Education – What Is UWE.mp4”

             j. “United Wealth Education – What You Need To Know About

                UWE.mp4”

             k. “United Wealth Education Opportunity Overview.mp4”

             l. “UWE Presentation w RSD – Ms.Kewi & RVP – Coach Kev.mp4”




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           m. “UWE UCES UNITED WEALTH EDUCATION IS IT A SCAM

               CREDIT REPAIR FINANCIAL FREEDOM FINANCIAL

               LITERACY.mp4”

           n. “VIDEO #3 – UWE NEW AGENT LAUNCH – EVP DAVID

               MARQUEZ.mp4”

           o. “What is UWE ( UNITED WEALTH EDUCATION) 2021.mp4”

           p. “UWE Presentacion de Negocio y Oportunidad.mp4”

     185. The screenshots I captured from YouTube in December 2021 that

  correspond to the videos listed in paragraph 20 are labeled:

           a. “2021 UCES & UWE presentation.png”

           b. “BEST UWE PRESENTATION.png”

           c. “How to launch your United wealth Education Business.png”

           d. “How to use Social media to build Your United wealth education

               Business.png”

           e. “NEW UECS AND UWE CREDIT REPAIR OVERVIEW.png”

           f. “The Best United Wealth Education Overview. #networkmarketing

               #uwe.png”

           g. “The Secret to Financial Literacy!!! #uwe #credit #award #winning

               #850 #uces #protectionplan.mp4.png”

           h. “The secret to residual income and financial freedom!.png”

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           i. “United Wealth Education – What Is UWE.png”

           j. “United Wealth Education – What You Need To Know About

              UWE.png”

           k. “United Wealth Education Opportunity Overview.png”

           l. “UWE Presentation w RSD – Ms.Kewi & RVP – Coach Kev.png”

           m. “UWE UCES UNITED WEALTH EDUCATION IS IT A SCAM

              CREDIT REPAIR FINANCIAL FREEDOM FINANCIAL

              LITERACY.png”

           n. “VIDEO #3 – UWE NEW AGENT LAUNCH – EVP DAVID

              MARQUEZ.png”

           o. “What is UWE ( UNITED WEALTH EDUCATION) 2021.png”

           p. “UWE Presentacion de Negocio y Oportunidad.png”

     186. Attached as Attachment H is a true and correct copy of the YouTube

  screenshots described in Paragraph 226.

     187. In December 2021, I was asked by Staff to preserve YouTube videos

  pertaining an FES agent named Ashton Henry presenting on the Steve Harvey

  show. I remotely used the computers in the FTC’s Internet Lab to visit

  YouTube.com. I searched for these videos using the search terms “Ashton Henry”

  and “Steve Harvey.” Using the Google Chrome web browser, I viewed and

  navigated through several videos that appeared in the YouTube search results. I

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  identified several videos related to the subject at hand and downloaded these

  videos using the application 4K Video Downloader. I downloaded these videos

  directly from YouTube in an mp4 format that is readily viewable offline. For each

  video that I downloaded, I also used SnagIt to capture a screenshot of the webpage

  displaying the video, and subsequently saved the image electronically as a PNG

  file. I then transferred the video files and screenshot images via secure file transfer

  to the FTC’s network. I then saved the video files and screenshots on the FTC’s

  secured network, in a folder with limited access.

     188. The video files I downloaded from YouTube pertaining to Ashton Henry

  and Steve Harvey in December 2021 are labeled:

            a. “Fixing Your Credit with Ashton Henry Financial STEVE

               HARVEY.mp4”

            b. “Get Out of Debt Thanks to Ashton Henry Financial STEVE

               HARVEY.mp4”

            c. “Protect Your Identity with Ashton Henry Financial STEVE

               HARVEY.mp4”

            d. “Turn Around Bad Credit with Ashton Henry STEVE

               HARVEY.mp4”




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     189. The screenshots I captured from YouTube pertaining to Ashton Henry and

  Steve Harvey in December 2021 that correspond to the videos listed in paragraph

  20 are labeled:

           a. “Fixing Your Credit with Ashton Henry Financial STEVE

               HARVEY.png”

           b. “Get Out of Debt Thanks to Ashton Henry Financial STEVE

               HARVEY.png”

           c. “Protect Your Identity with Ashton Henry Financial STEVE

               HARVEY.png”

           d. “Turn Around Bad Credit with Ashton Henry STEVE HARVEY.png”

     190. Attached as Attachment I is a true and correct copy of the YouTube

  screenshots described in Paragraph 230.


                                       Facebook

     191. In January 2022, I preserved Facebook posts related to FES marketing, the

  FES compensation plan, and the FES/UCES credit repair service. I remotely used

  the computers in the FTC’s Internet Lab to visit Facebook.com. I searched for

  these FES Facebook posts using various search terms. Using the Google Chrome

  web browser, I viewed and navigated through several posts that appeared in the

  Facebook search results. I identified several posts that had been recently posted.


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  After identifying these relevant posts, I took screenshots using SnagIt and

  subsequently saved the image electronically as a PNG file. After capturing several

  Facebook posts, I compared the PNG files to the Facebook posts on the website

  and verified that the PNGs accurately reflected the Facebook posts on the website.

  I then transferred the PNG files via secure file transfer to the FTC’s network. I then

  saved the PNG files on the FTC’s secured network, in a folder with limited access.

     192. The screenshots I captured from Facebook pertaining to FES are labeled:

           a. “FB Capture 1.png”

           b. “FB Capture 2.png”

           c. “FB Capture 3.png”

           d. “FB Capture 4.png”

           e. “FB Capture 5.png”

           f. “FB Capture 6.png”

           g. “FB Capture 7.png”

           h. “FB Capture 8.png”

           i. “FB Capture 9.png”

           j. “FB Capture 10.png”

     193. Attached as Attachment J is a true and correct copy of the Facebook

  screenshots described in Paragraph 233.



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                                        Instagram

     194. In January 2022, I preserved Instagram posts related to FES marketing, the

  FES compensation plan, and the FES/UCES credit repair service. I remotely used

  the computers in the FTC’s Internet Lab to visit Instagram. I searched for these

  FES Instagram posts using various search terms. Using the Google Chrome web

  browser, I viewed and navigated through several posts that appeared in the

  Instagram search results. I identified several posts that had been posted recently.

  After identifying these relevant posts, I took screenshots using SnagIt and

  subsequently saved the image electronically as a PNG file. After capturing several

  Instagram posts, I compared the PNG files to the Instagram posts on the website

  and verified that the PNGs accurately reflected the Instagram posts on the website.

  I then transferred the PNG files via secure file transfer to the FTC’s network. I then

  saved the PNG files on the FTC’s secured network, in a folder with limited access.

     195. On occasion, I would have to take more than one screenshot to fully

  capture and preserve longer posts. In cases where this occurred, I titled the first

  capture in the sequence as “Capture #,” the second capture in the sequence as

  “Capture#a,” and, in situations where a third capture was required, the third

  capture in the sequence as “Capture#b.”

     196. The screenshots I captured from Instagram pertaining to FES are labeled:

            a. “Capture 1.png”

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           b. “Capture 2.png”

           c. “Capture 2a.png”

           d. “Capture 2b.png”

           e. “Capture 3.png”

           f. “Capture 3a.png”

           g. “Capture 4.png”

           h. “Capture 5.png”

           i. “Capture 6.png”

           j. “Capture 7.png”

           k. “Capture 8.png”

           l. “Capture 8a.png”

           m. “Capture 9.png”

           n. “Capture 10.png”

           o. “Capture 11.png”

           p. “Capture 12.png”

           q. “Capture 13.png”

           r. “Capture 14.png”

           s. “Capture 15.png”

           t. “Capture 16.png”

           u. “Capture 16a.png”

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           v. “Capture 17.png”

           w. “Capture 18.png”

           x. “Capture 19.png”

           y. “Capture 20.png”

           z. “Capture 20a.png”

           aa. “Capture 21.png”

           bb.“Capture 22.png.”

     197. Attached as Attachment K is a true and correct copy of the YouTube

  screenshots described in Paragraph 237.

              SPANISH-LANGUAGE SOCIAL MEDIA CONTENT

     198. I read, speak, and write Spanish at the native level and I have used my

  language skills during my career at the FTC.

     199. At the instruction of Staff, I reviewed Spanish-language videos and social

  media content posted by FES agents and provided Staff with English summaries

  and/or English translations of the following content:

                         Fernando Ramirez YouTube Video

     200. On or around December 16, 2021, I reviewed a video posted to YouTube

  on October 21, 2020, by YouTube account “Fernando Ramirez Bilingual

  Entrepreneur,” and titled “Negocio Modelo De Casa FES Financial Education

  Services UCES Protection Plan Presentacion Corta,” which translates to “Home

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  Business Model FES Financial Education Services UCES Protection Plan Short

  Presentation.” The video was captured by former FTC paralegal Celia Garrett on

  May 24, 2021. (See PX10 at 3.)

     201. In this video, a man who identifies himself as Fernando Ramirez

  discussed, in Spanish, the UCES Protection Plan and credit repair service, as well

  as the FES agent business model.

     202. In the first minute of the video, Ramirez explains that his message is

  dedicated to Latinos and Latino immigrants.

     203. At around the 3:10 mark, Ramirez discussed laws that he says allow

  consumers to have accounts negatively affecting their credit scores be investigated.

  Ramirez also spoke about his personal experience increasing his credit score. At

  the request of Staff, I was asked to transcribe and translate this section, which

  began at around the 03:11 mark and ended around 03:46:

            a. Spanish transcription: “…gracias a las leyes equitativas que fueron

               pasadas por Congreso para que tu puedas poner todos los artículos en

               negativos bajo investigación. Deja de sentirte culpable y ejerce leyes

               equitativas que te pueden ayudar a remover cualquier artículo, como

               una bancarrota, pago tarde, foreclosure, [¿?], cualquier cosa que te

               está afectando, que fue una ley que yo ejercí, y lo hice por 16 meses,



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              donde mi estado crediticio cambio de 25 artículos negativos con 430

              puntos en mi crédito, a escalarlo a 749 en solamente 16 meses.”

           b. English translation: “…thanks to the equitable laws that were passed

              by Congress so that you can place all [of your] negative accounts

              under investigation. Stop feeling guilty and exercise [the] equitable

              laws that can help you remove whichever account, such as a

              bankruptcy, late payment, foreclosure, [unintelligible], whichever

              thing that is affecting you, which is a law I exercised, and I did it for

              16 months, where the state of my credit escalated from 25 negative

              accounts and a 430 credit score to 749 in just 16 months.”

     204. At around the 3:50 mark, Ramirez claims that if FES customers need help

  from lawyers, there are lawyers available who can sue “collectors” that violate the

  law, as well as the “agencies” [presumably, credit bureaus] that are not monitoring

  or supervising what is being reported to them.

     205. At around the 14:15 mark, Ramirez claims that FES will pay for its agents’

  automobile and house. At the request of Staff, I was asked to transcribe and

  translate this section, which began at around the 14:03 mark and ended around

  14:46:

           a. Spanish transcription: (14:03) “…te van a dar lo que es residuales, no

              solamente de lo que tú vas a referir, si no de lo que va a referir tu red,

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              aparte de las comisiones. O sea que es tremendo este plan de

              compensación que tú puedes ejercer, y aparte de eso también van a

              pagar tu automóvil, van a pagar tu casa, te van a dar bonus en cash, te

              dan todo tipo de compensación mientras tú te estructures, a medida tu

              vayas escalando estas gradas que miras [¿?] al éxito, ellos van a irte

              dando más beneficios para que tú no tengas que pagar por tu auto, por

              tu casa, y ahorrar todo tu dinero. ¿Qué te parece eso? Es una gran

              oportunidad que yo le ejercido por 11 años y te digo que estoy muy

              bendecido. Por esa razón, estamos dando esta información para que tú

              la puedas compartir con otras personas.”

           b. English translation: “…they are going to give you what is residual, not

              only from what you will refer, but from what your network will refer,

              apart from the commissions. So this tremendous compensation plan

              that you can exercise, and apart from that they will also pay your

              automobile, they will pay your house, they will give you a cash bonus,

              they give you all types of compensation while you structure yourself

              as you go climbing these stairs that you look at [unintelligible] to

              success, they are going to give you more benefits so that you don’t

              have to pay for your auto, for your house, and [so that you can] save

              all your money. How does that sound to you? It’s a great opportunity

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               that I have exercised for 11 years and let me tell you that I am very

               blessed. For that reason, we are giving away this information so that

               you can share it with other people.”

     206. At around the 15:15 mark, an infographic appears on the screen that details

  different additional benefits of being an FES agent, including a personalized

  website, virtual office, customer service representatives based out of Michigan to

  assist customers and agents, weekly deposits (for qualifying agents), life insurance

  (for qualifying agents), professionally designed marketing materials, commissions,

  rewards, bonuses, national and regional training events, tax deduction benefits, and

  “the opportunity to help others.”

                                      Instagram Posts

     207. On or around January 11, 2021, I reviewed and translated three Instagram

  posts I captured on January 6, 2021. The Instagram posts and their respective

  captions contained Spanish text. The Instagram posts are cited in Paragraph 237 of

  this declaration. The translations I wrote for each picture are as follows. Bolded

  words, phrases, or hashtags appeared in English on their respective posts:

                                         Capture 6

     208. Image

           o White square at the top


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                   Line 1: Agents are needed

                   Line 2: Begin your 2022

           o Middle of the post; blue background

                   Line 1: Work from wherever in Puerto Rico and the United

                     States,

                   Line 2: work your own hours,

                   Line 3: Earn extra income

                   Line 4: Spend more time with your family

           o Red paint at the bottom

                   Line 1: Comment agents

                   Line 2: @financialmanagement

     209. Caption: Give yourself freedom, gain control over your money, repair your

  credit with us, help others while you repair your credit #uwe

  #unitedwealtheducation #relief #credit #repair #youcandoit #getcontrol

  #foryou #doityourself #letmehelp #letmehelpyou #foryou #takecontrol

  #doityourself

                                      Capture 12

     210. Image: Find an additional job that pays for your car, your mortgage, your

  bills


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     211. Caption: #unitedwealtheducation #uwe #offers the #opportunity to

  #educateourselves on #knowledge of #virtual #mode from #home #parttimejob

  #fulltime, a #finance #business that #helps you to #acquire #financial #freedom to

  #share the #acquired #goods with your #family, #takeadvantage of the #pandemic

  experience, we have #acquired more #skills #working and / or #studying the

  #virtual mode #contactme

                                       Capture 17

     212. Image:

           o Yellow title:

                    Healthy financial future

           o White sub-title

                    I can help you eliminate information that is correct, erroneous,

                      and obsolete from your credit report

           o Bullets

                    Collections

                    Foreclosures

                    Bankruptcies

                    Judgments

                    Tax liens

                    Medical bills
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                  Student loans

                  Charge offs

                  Liens

                  Late payments

           o (Note: The remainder of text in the picture is contact information)

     213. Caption:

           o Line 1: For the health of your finances �

           o Line 2: #creditrepair #ficoscore #creditscore #creditbureaus

              #personalfinances #creditrestoration #buildyourcredit #creditreport

              #financesforentrepreneurs #creditandfinances #debts

              #personalfinances #repairyourcredit #digitalbusinessesoftoday

              #financialhealth #financialservices #UnitedWealthEducation

              #moneyandonlinebusinesses #crediteducationfico #crediteducation




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  I declare under penalty of perjury that the foregoing is true and correct.

  Executed on May 19, 2022, in San Diego, CA.




                                          ______________________

                                          ELENA HOFFMAN




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                                THE ALLIANCE 3 WAY CALL SCRIPT

   Piquing: I partnered up with some very successful entrepreneurs who's launching a huge credit
   repair franchise. They did 30 million in sales last year And they are projected to do 50 million in
   sales this year. Do you know anyone with less than perfect credit or who wants to add another
   source of income?

      1. Have prospect watch protection plan video (www.myfesconnect.net/yourusername)
      2. Quick story what you do prior, why you started, success your having(60 seconds max)
      3. Proper Edification:
             a. Let me introduce you to Mr./Mrs._____________
             b. Very busy but I can get them on the line for a quick minute
             c. Has 100% of the information
             d. Very successful
             e. Leading the expansion
             f. Working personally with me
             g. Hold on while i try and get Mr. or Mrs. On the line
      4. “Mr./Mrs._________? I just wanted to thank you for taking the time to talk to (prospects).
         (Prospects), this is Mr./Mrs.__________…..
      5. NOW MUTE YOUR LINE AND LISTEN!

   3 WAY CALL SCRIPT FOR EXPERT
   HI (NAME) nice to meet you over the phone.
       1. What do you do for work? (wait for answer)
       2. Full time or part time? (wait for answer)
       3. How do you like what you do? (wait for answer)

      4. Great let me give you a quick rundown of what we do. I work with a company that’s
         expanding in the area and we deal with Credit Repair and Personal Finances. As you
         know the economy is becoming more reliant on credit each & every year from
         purchasing a car, home, to getting cell phones, utilities and even getting a job.
      5. We are looking for a few professionals that would help assist our leadership teams as
         we grow into more locations. We have part time and full time income positions available.

      6. Now let me ask you a question (name), do you know anyone with less than perfect
         credit?
      7. Great, so all you will be doing is marketing our credit program connecting the clients to
         the program and the company does the rest.
      8. To become a Broker there is a one time investment of $288, with that you also become a
         Protection Plan Member so the company will help YOU Rebuild, Repair, and Protect
         your own Personal Credit for $89 a month. The benefit is once you acquire your first 5
         clients you not only make your ROI but a $312 profit and they waive the $89 a month so
         you're now in business for FREE. which most new agents do in their first 30 days!




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       9. Let me explain how this works, You will earn $100 commission from every client you
           enroll weekly and $12 a month when those clients pay their monthly $89. The great
           news is there is no limit to how many clients you can enroll. So example if you got
           started today and we helped you enroll 5 clients by saturday you would earn a check for
           $500 the following Thursday. Does that make sense?
       10. Like real estate you can choose to build a team of agents and earn $100-$550
           commission from their clients as well as $3 a month when their clients pay their monthly.
       11. I don’t want to complicate it it’s very simple you acquire clients, you get paid! The
           company does the rest.

   Close Sequence
      1. Does that make sense?
      2. So let me ask you (name) what do you like most about what you hear?
      3. Do you see an opportunity for yourself?
      4. Great, let’s get the paperwork out the way
             a. Handle objections
             b. Fill out online form and get them registered!
             c. Schedule time for launch
             d. Plug them into The Alliance (facebook group, telegram, text alerts)

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   You can also get a secured credit card from the bank you currently bank with.


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FES PROTECTION PLAN: SET-UP FEE
The set-up fee for FES Protection Plan customers is $99. During the enrollment process, agents have the option
of reducing the setup fee to $49 or waiving the set-up fee entirely. Discounting or waiving the set-up fee is
offered as a friends and family discount or multiple sale discount.

The enrolling agent will have the option of keeping a direct commission or having it pay out to the placement
sponsor, if they decide to place that sale under an agent on their team.

Sales that include the set-up fee must be placed by the following Monday by 5:00 PM, EST or the direct
commission will automatically pay out to the enrolling agent.

OPTION 1: RESIDUAL
If you have waived the set-up fee and choose the Residual option, you will receive the $12 commission the
following week and every month thereafter, as long as the customer has made their payment.

When a set-up fee is charged, and the agent has selected the residual pay option, the $12 monthly commission
will be withheld for the first three months. When the customer makes the fourth payment, the residual
commission for that month and the previous three months will be released, paying the total of $48 to the agent.
The residual commission will be $12 monthly thereafter.

After 70 days, if the sale has not been placed under another agent, it will no longer appear in the holding tank,
will become an automatic Opt Out and a $12 Direct Commission will begin to be paid.

OPTION 2: SPONSOR PLACEMENT
Agents have 70 days to place their FES Protection Plan customers to trigger a CAB Bonus or enhance their
organizational structure for title requirements. If the sale is placed, the $12 residual commission will start
paying out upon receipt of the customer’s fourth payment.

Enrolling Agents who choose to place these customers will relinquish Direct Commission for their customer’s
first three payments. If the placed customer becomes an Agent, they will automatically be placed back under
the Enrolling Agent. At this time, the Enrolling Agent now has another 60 days to place the Agent, but must also
replace the customer where the sale was originally placed if it falls within the 70-day time period. If the
customer is not replaced, a retraction will be taken.

Sales for new agents who are within the 70-Day CAB qualification period will not appear in the holding tank
until the CAB is generated.

FES PROTECTION PLAN: PERSONAL SALES VOLUME
Personal Sales Volume is the total dollar amount of commissionable services sold by an agent. With a FES
Protection Plan Customer Sale, your Direct Commission is based on the $89 payment, while receiving the
benefit of an increased PSV. The $200/$100 PSV on your $89 sale will help you achieve and maintain your
Titles and Promotions, while allowing you to trigger your CAB Bonuses faster.

                          First 3 Payments: FES Protection Plan Customer Memberships

                   Customer Payment            Direct Commission        Personal Sales Volume (PSV)
           Customer’s First $89 Payment               $12.00                       $200.00
            Customer’s Second $89 Payment             $12.00                       $100.00
           Customer’s Third $89 Payment               $12.00                       $100.00

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Direct Commission
Direct commission is paid for all product sales to the sales agent that directly submitted the sale, whether or
not they are Active at the time of sale. Commissions are paid Thursday for the previous week’s business,
beginning Sunday through Saturday at midnight.



                 FES Protection Plan           FES Protection Plan            FES Protection Plan Corporate Account
   Product                                     Discount Set Up Fee              $89 / Monthly     FES Protection Plan***
                 $99 Set Up + $89/M
                                                   $49 + $89/M
     Price        $188 | $89/Month              $138 | $89/Month                   $89/Month                       $49/Month
    Direct               $100.00*                       $50.00*                      $12.00**                        $6.00
    Level 1                $3.00                         $3.00                        $3.00                          $2.00
    Level 2                $3.00                         $3.00                        $3.00                          $2.00
    Level 3                $3.00                         $3.00                        $3.00                          $2.00
    Level 4                $3.00                         $3.00                        $3.00                          $2.00
    Level 5                $2.50                         $2.50                        $2.50                          $1.25
    Level 6               $2.25                          $2.25                        $2.25                          $1.00
 *One-time direct payout
 **Direct payout on the FES Protection Plan only applies to Personal Customer Sales.
 *** FES Protection Plan: Corporate Financial Benefit Package commission is paid on the 4 th week of each month.




   Product            MyCare Plan                   MyCare Plan                  LifeLock             LifeLock         UltraScore

     Price                 $499                            $399*                $99/Year           $9/Month**            $149
    Direct                $150.00                       $100.00                   $22.00                $1.75            $40.00
    Level 1                $24.00                        $15.00                   $3.50                 $0.25            $5.00
    Level 2                $19.00                        $11.00                   $3.00                 $0.20            $4.00
    Level 3                $14.00                        $8.00                    $2.00                 $0.20            $3.00
    Level 4                $9.00                         $7.00                    $1.00                 $0.10            $3.00
    Level 5                $9.00                         $7.00                    $1.00                 $0.10            $3.00
    Level 6                $5.00                         $4.00                    $0.75                 $0.10            $2.00
 * $399: Promotional price for multiple sales.
 **LifeLock monthly commissions are limited to one year.




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Split Payment Guidelines
Customers can enroll in MyCare Plan on an installment plan for $499 or $399 (promotional price/group
discount). This option is only available to customers using a credit card, debit card or checking account as their
payment method. Half the payment will be due at the time of enrollment and the balance on the due date.

The second payment will be charged to the same account that was used for the initial payment when the due
date arrives and will include a small service fee. MyCare Plan document preparation and printing will begin as
soon as the second payment is obtained.


                                     Split Payment : MyCare Plan
     Sale Amount            Payment Option        First Payment        Second Payment          Total Payment
         $499                  30 Days               $250.00               $260.00               $510.00*
         $399                  30 Days               $200.00               $210.00               $410.00*
*$11.00 Service Fee Added

    ¾ Customers enrolling in the Split Payment option must be entered through your Business Office.
    ¾ To view the status of Split Payment customers, log into your Business Office and click on Customer List
      under the Reports tab.

Commission on the second payment will be the same amount as the first payment. Agents will receive half of
the commission the following week after the first payment is received. The commission balance will be paid
when the second payment is processed. If payments are declined, the client’s service will be suspended, and
commission will be delayed until the payment issues are resolved.

Note: On a Split Payment, the amount paid will count towards volume.

Example: If a customer opts for the $499 Split Payment and pays an initial payment of $250, only $250 will
count towards the Personal/Group Volume. When both payments are made, the volume counted will be $510.




                                      Split Payment Commission
                 Price                        $499 Installment Plan                 $399 Installment Plan
                Direct                               $75.00                                $50.00
                Level 1                              $12.00                                 $7.50
                Level 2                               $9.50                                 $5.50
                Level 3                               $7.00                                 $4.00
                Level 4                               $4.50                                 $3.50
                Level 5                               $4.50                                 $3.50
                Level 6                               $2.50                                 $2.00




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Level Overrides
To receive Level Overrides on levels 1-6, agents must be Active and meet the eligibility requirements located to
the left. If an agent is inactive, the override will roll up to the next active agent. Level Overrides are paid based
on your current Paid As title.


                                        Level Override Qualifications
                           Level 1                                                  Eligible Upline Agent
                           Level 2                                                  Two Active Agents*
                           Level 3                                                       Field Trainer
                           Level 4                                                   Senior Field Trainer
                           Level 5                                                      Sales Director
                           Level 6                                            Regional Sales Director and Above
*Agent must have at least two Personally Sponsored Agents in Active Status.




Customer Acquisition Bonus (CAB)
A Customer Acquisition Bonus (CAB) is a commission paid when a new agent produces the required amount of
Sales Revenue within 70 days of entering the business. The CAB is paid to the enrolling agent and eligible
upline. There are three types of CAB’s: Initial, Remaining and Total. The amount of the CAB earned is
contingent on the Paid As Title and is paid on your lineage organization only.

    ¾ If a new agent’s enrollment fee is declined, no CAB will be paid.

    ¾ The initial CAB for new agents with a FES Protection Plan Membership is contingent on receipt of three
      consecutive monthly FES Protection Plan payments. If three payments are not received, the company
      reserves the right to retrieve a percentage of the CAB. If only one payment is received, a 50% CAB
      retraction will apply. If only two payments are received, a 25% retraction will apply.

    ¾ When placing an agent, the CAB payout’s roll up from the Enrolling Sponsor.

    ¾ See following page for FES Protection Plan Membership CAB payouts.




         Standard Agents will only receive direct commission for product sales. They are not eligible to
              receive CAB Bonuses, Level Overrides, Infinity Bonuses or any other compensation.




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Customer Acquisition Bonus (CAB)
                         Direct Personal Sponsorship : Total Payout $550
                                    FES Protection Plan Membership:
                      Paid As Title                      Initial          Remaining         Total
                            Agent                         $40.00            $60.00         $100.00
                        Field Trainer                     $60.00           $100.00         $160.00
                    Senior Field Trainer                  $90.00           $150.00         $240.00
                       Sales Director                    $140.00           $240.00         $380.00
                  Regional Sales Director                $160.00           $270.00         $430.00
                 Executive Sales Director                $170.00           $305.00         $475.00
                      Vice President                     $175.00           $325.00         $500.00
                 Regional Vice President                 $177.00           $333.00         $510.00
                 Executive Vice President                $179.00           $341.00         $520.00
                   Senior Vice President                 $181.00           $349.00         $530.00
              Senior Regional Vice President             $183.00           $357.00         $540.00
              Senior Executive Vice President            $185.00           $365.00         $550.00

                                        Override : Total Payout $550
                                    FES Protection Plan Membership:
                      Paid As Title                       Initial         Remaining         Total
                            Agent                          $0.00            $0.00           $0.00
                        Field Trainer                     $20.00            $40.00         $60.00
                    Senior Field Trainer                  $30.00            $50.00         $80.00
                       Sales Director                     $50.00            $90.00         $140.00
                  Regional Sales Director                 $20.00            $30.00         $50.00
                 Executive Sales Director                 $10.00            $35.00         $45.00
                      Vice President                       $5.00            $20.00         $25.00
                 Regional Vice President                   $2.00            $8.00          $10.00
                 Executive Vice President                  $2.00            $8.00          $10.00
                   Senior Vice President                   $2.00            $8.00          $10.00
              Senior Regional Vice President               $2.00            $8.00          $10.00
              Senior Executive Vice President              $2.00            $8.00          $10.00

Initial CAB Upon Enrollment at $288

Initial CAB: Partial CAB payouts.
     ¾ New agent comes into the business as an FES Protection Plan Member.

Remaining CAB: Balance of available CAB pays out after initial CAB has been paid.
   ¾ New agent accumulates a total of two FES Protection Plan payments within their first 70 days.*
      *Does not include their own FES Protection Plan.

Total CAB: All qualifications are met in the same week that the agent enrolls.

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Direct Deposit and Commission Checks
Each Direct Deposit and Commission Check will incur a $4 accounting and banking fee.

The minimum amount of payout for a commission check is $35. Your commission will be posted in your
Business Office, held until the minimum amount has been reached. Once the $35 minimum has been achieved,
your check will be deposited/mailed out on the next commission payout date.




Bonus Volume
Bonus Volume is a non-monitory bonus which counts towards Group Volume.




            FES Protection Plan Membership                          315 : One Time Bonus (Agent)
                (Agent and/or Customer)                  200 : One Time Bonus (Customer - Upon 3rd Payment)



                     Secured Card                                       50 : One Time Bonus



                                                             15: Monthly Bonus (Basic Package- $12.95)
                      Smart Credit                         20 : Monthly Bonus (Premium Package- $14.95)



                                                            CMR enrollment price may vary per customer.
                    Credit My Rent                           These options are to benefit the consumer.
                                                            See chart on Page 8 for Bonus Volume details.



                                                                        Equal to Your One Time Total
        International Bancard: Merchant Services                            Commission Payout




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Credit My Rent Commission & Bonus Volume

             Credit My Rent Product                  Product Price      Commission         Bonus Volume
            Enrollment Only Individual                   $25.00             $5.00                25

           Enrollment Only with Spouse                   $50.00            $10.00                50

 Enrollment + 12 Month Rental History Individual         $85.00            $15.00                85

    Enrollment w/ Spouse + 12 Month History              $110.00           $20.00                110

           Enrollment + 24 Month History                 $145.00           $25.00                145

    Enrollment w/Spouse + 24 Month History               $170.00           $30.00                170

                Monthly Individual                        $6.95               --                 10

               Monthly with Spouse                        $9.95               --                 10




International Bancard: Merchant Services
The payment structure for International Bancard (Credit Card Processing) differs from all other FES services.
Once a deal becomes final, commissions will be paid based on 1% of the new client’s first month of volume - a
one-time payout to the direct representatives with no level overrides.

In addition to the commission, Bonus Volume will be paid to the upline at the same 1% rate.

Example:
   Monthly Credit Card Processing Volume            1% Commission           Bonus Volume (Paid to Upline)
                 $75,000.00                            $750.00                          750
                $125,000.00                           $1,250.00                        1,250
                $500,000.00                           $5,000.00                        5,000

1% commission will apply to all processing volume up to $500,000.00 per month. Deals over $500,000.00 per
month are subject to a different commission structure based on the negotiated fee with the credit card
processer.


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Title Qualifications & Infinity Bonus
                     Monthly
                                             Agent                                                                  Infinity
   Position           Group                                                Team (Leg) Requirements
                                          Requirements                                                               Bonus
                     Volume
                                     2 Personally Sponsored
 Field Trainer      $1,600.00                                     2 Separate Legs: w/Minimum $400 Per Leg             N/A
                                          Active Agents
 Senior Field                        2 Personally Sponsored       2 Separate Legs: w/Minimum $500 Per Leg &
                    $5,000.00                                                                                         N/A
   Trainer                                Active Agents           Minimum 2 Active FT- 1 Must Be Lineage
                                                                                                                     0.5%
                                     3 Personally Sponsored       3 Separate Legs: w/Minimum $1000 Per Leg
Sales Director     $10,000.00                                                                                      Lineage
                                          Active Agents           & Minimum 3 Active FT- 2 Must Be Lineage
                                                                                                                      GV
                                                                                                                    0.75%
Regional Sales                       3 Personally Sponsored       3 Separate Legs: w/Minimum $2000 Per Leg
                   $25,000.00                                                                                      Lineage
  Director                                Active Agents           & Minimum 3 Active SFT- 2 Must Be Lineage
                                                                                                                      GV
                                                                                                                      1%
Executive Sales                      4 Personally Sponsored       4 Separate Legs: w/Minimum $4000 Per Leg
                   $50,000.00                                                                                      Lineage
   Director                               Active Agents           & Minimum 2 Active SD- 1 Must Be Lineage
                                                                                                                      GV
                                                                  4 Separate Legs: w/Minimum $10,000 Per            1.5 %
                                     4 Personally Sponsored
Vice President     $100,000.00                                    Leg & Minimum 3 Active SD- 1 Per Leg, 2          Lineage
                                          Active Agents
                                                                  Must Be Lineage                                     GV
                                                                                 5 Separate Legs:
                                                                   3 Separate Legs: Each w/ 1 Active RSD-          1.75%
 Regional Vice                       5 Personally Sponsored
                   $250,000.00                                         ¾ 2 Must Be Lineage                         Lineage
   President                              Active Agents
                                                                   1 Leg: w/ 1 Active SD                             GV
                                                                   1 Leg: w/ $10,000 in Volume
                                                                                 5 Separate Legs:
                                                                   3 Separate Legs: Each w/ 1 Active ESD-            2%
Executive Vice                       5 Personally Sponsored
                   $500,000.00                                         ¾ 1 Must Be Lineage                         Lineage
  President                               Active Agents
                                                                   1 Leg: w/ 1 Active RSD                            GV
                                                                   1 Leg: w/ 1 Active SD
                                                                                 5 Separate Legs:
                                                                                                                    2.25%
  Senior Vice                        6 Personally Sponsored        3 PSL Separate Legs: Each w/ 1 Active VP
                  $1,000,000.00                                                                                    Lineage
   President                              Active Agents            1 Leg: w/ 1 Active ESD
                                                                                                                      GV
                                                                   1 Leg: w/ 1 Active RSD
                                                                                5 Separate Legs:                     2.5%
Senior Regional                      6 Personally Sponsored
                  $2,500,000.00                                    3 PSL Separate Legs: Each w/ 1 Active RVP      Lineage
 Vice President                           Active Agents
                                                                   2 Separate Legs: Each w/ 1 Active VP              GV
   Senior                                                                       5 Separate Legs:                    2.75%
                                     7 Personally Sponsored
Executive Vice    $5,000,000.00                                    3 PSL Separate Legs: Each w/ 1 Active SVP      Lineage
                                          Active Agents
  President                                                        2 Separate Legs: Each w/ 1 Active RVP             GV
 Agents who do not meet the qualifications for their Paid As title at month end will be given a Grace period the following
month, during which they will continue to be paid at that title. However, if at the end of the Grace month they do not meet
                   their title qualifications, they will be Paid As the title for which they are qualified.

                                 FT – ESD = 1 Month Grace | VP – SEVP = 2 Month Grace

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Infinity Bonus
The FES Infinity Bonus is designed to recognize and reward outstanding sales achievement by agents who excel
at building active, successful organizations. This monthly bonus is paid when an agent achieves the Paid As
position of Sales Director or above. Bonuses will be paid monthly during the second week of each month for the
previous month. The Infinity Bonus is paid on lineage volume only.

You must maintain Group Volume and activity requirements at the Paid As title. Agents must be Active the
entire qualifying month to receive the Infinity Bonus. If the same title is achieved in the same Team (leg), the
Infinity Bonus will be divided up based on the volume generated by each individual title holder.

Title Qualification & Infinity Bonus Eligibility Requirements:

   ¾ All positions are Paid As titles.
   ¾ Group Volume is based on the qualifying month.
   ¾ For all positions, qualifying agents with titles must be Active for leg minimum requirements.
   ¾ You must maintain Group Volume and activity requirements at the Paid As title. Agents must be active
     the entire qualifying month to receive the Infinity Bonus.
   ¾ See Page 9 for Infinity Bonus percentage table.



Generation Bonuses
Generation Overrides are paid on sales from levels 7 and below. Two levels of Generation Overrides will pay to
those with Paid As titles of Executive Sales Director and above.

              Position                                Level 1                               Level 2
      Executive Sales Director                          1%                                   0.5%
           Vice President                              1.5 %                                  1%
      Regional Vice President                         1.75 %                                1.25 %
      Executive Vice President                          2%                                   1.5%
        Senior Vice President                         2.25%                                 1.75%
   Senior Regional Vice President                      2.5%                                   2%
   Senior Executive Vice President                    2.75%                                 2.25%




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   Medallion Club Qualifications & Rewards
                Personal PPM          Agent          Max PPM
                                                                           Additional
 Level         (Agents and/or      Lineage PPM       Used From                                                     Reward
                                                                          Requirements
                 Customers)          Required         Each PSA

 Bronze               2                  10            7 (70%)                  N/A                         Club Membership Card


 Bronze
                      2                  25            15 (60%)                 N/A                  Customized 16oz Hot & Cold Tumbler
  Elite


  Silver              3                  50            25 (50%)                 N/A                 Custom Embossed Business Card Holder


  Silver
                      3                  75            35 (45%)                 N/A                          Custom Inscribed Pen
  Elite


  Gold                4                 100            40 (40%)                 N/A                       Custom Embossed Portfolio


                                                                                                      Custom Embossed Travel Wallet & 2
Gold Elite            4                 150            60 (40%)                 N/A
                                                                                                           Embossed Luggage Tags


Platinum              5                 200            80 (40%)                 N/A                  Custom Embossed Light Leather Jacket


Platinum                                                                                             Choice of Custom Embossed Leather
                      5                 250           100 (40%)                 N/A
  Elite                                                                                              Rolling Briefcase or Leather Backpack


                                                                     Must maintain qualification
Diamond               6                 350           125 (35%)                                                  Shinola Watch
                                                                      for 3 consecutive months


                                                                        Must have attended                        Founders Day:
Diamond                                                               1 Annual Convention and         One day with one or both Founders:
                      6                 450           160 (35%)
  Elite                                                              must maintain qualification       Includes Travel, Accommodations,
                                                                     for 3 consecutive months.      Activities, Dining, Custom Framed Photo


           x   You must be an Active FES Protection Plan Member to be eligible for the Medallion Club.
           x   Each level receives one reward per agency. Medallion Club Members may purchase an additional reward at their highest level
               or any previous levels earned for themselves and/or their spouse or business partner.
           x   Medallion Club Members who achieve multiple levels during one (1) volume month only receive their highest earned level.
           x   Diamond Medallion Club Members who achieve Diamond Elite level during their three (3) month qualifying period will only
               receive the Diamond Elite reward, unless R&R Club Status is achieved (see below).
           x   Medallion Club Members who achieve R&R Club status during the qualification period of Diamond and Diamond Elite will forgo
               the rewards at these levels and receive their R&R Club benefit.



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  R&R Club Qualifications & Rewards
             Personal PPM                                                   *Max PPM
                                 Agents Lineage PPM      Company PPM
 Level      (Agents and/or                                                  Used From                 Reward
                                      Required             Required
              Customers)                                                     Each PSA
                                                                                                 Up To $600 Car
   1               7                     500                 10,000            35 %                 Payment
                                                                                           Must Be Audi- Max 3 Yrs Old*
                                                                                                    $10,000
   2               10                   1,000                15,000            30 %             One-Time Bonus -
                                                                                              3 Consecutive Months
                                                                                           $1,500 Expense Allowance
   3               13                   2,500                20,000            30 %        (Must Continue to Fulfill Level
                                                                                                  1 Qualification)
                                                                                                    $25,000
   4               16                   5,000                30,000            25 %              One-Time Bonus
                                                                                              4 Consecutive Months
                                                                                                    $50,000
   5               20                   7,500                40,000            25 %              One-Time Bonus
                                                                                              6 Consecutive Months
                                                                                             $5,000 Monthly House
   6               25                  10,000                50,000            20 %                Payment
                                                                                           Paid Directly To Mortgage Co.
                                                                                               Matching Monthly
                                                                                            Retirement Bonus Up To
   7               30                  20,000                70,000            20 %
                                                                                                   $25,000*
                                                                                              3 Consecutive Months
                                                                                                 $100,000 Bonus
   8               35                  30,000                90,000            20 %               for 12 Months
                                                                                              3 Consecutive Months
                                                                                                $100,000 Lifetime
   9               40                  40,000               110,000            15 %              Monthly Bonus
                                                                                              3 Consecutive Months
                                                                                                 $250,000 Bonus
  10               45                  50,000               125,000            15 %              for 12 Months*
                                                                                              3 Consecutive Months
                                                                                                $250,000 Lifetime
Pinnacle           50                  75,000               150,000            15 %              Monthly Bonus*
                                                                                              3 Consecutive Months


  *This percentage stands for maximum percentage of FES Protection Plan Memberships allowed under any one
  Personally Sponsored Agent and their lineage team.

  *The company matches your monthly earnings up to $25,000.

  *You receive these monthly or lifetime bonuses each time you are qualified at the appropriate level.

  *Must attend the FES Convention each year

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Active: An agent must have a minimum of $399 in Personal Sales Volume every 70 days or be enrolled in the FES
Protection Plan to be eligible to receive Level and Generation Overrides and CAB and Field Training Bonuses.

Bonus Volume (BV): Volume given for selling certain products and services that do not pay monetary commissions.

Commission: Any money earned from Financial Education Services.

Customer Acquisition Bonus (CAB): When a qualified agent enrolls a new agent who produces a minimum of $340
Personal Sales Volume within their first 70 days of entering the business, the Enrolling Sponsor and the qualifying upline
agents will each receive CAB bonuses.

Direct: Refers to any agent that you personally enroll or the commission that you will receive as the selling agent.

Direct Commission: Money earned from personally submitted customer enrollments.

Enrolling Sponsor: The agent that is responsible for introducing and bringing in the new agent.

Genealogy: All agents within an organization, including the upline and all agents beneath them.

Grace Period: Agents who do not meet the qualifications for their Paid As title at month end will fall into a 30 or 60 day
(depending on their title) Grace period to re-qualify for their title.

Group Volume (GV): The total dollar amount of commissionable services sold by a group, including the agent’s personal
volume.

Holding Tank: Another name for your Customer Placement / Sponsor Placement Report

Level: The vertical position an agent holds below another specified agent in a given leg.

Level Override: Commission earned from sales that take place on the various levels of an agent’s organization.

Organization: The agents that an agent personally sponsors plus all of the agents they sponsor and any agents that were
placed within their team. Example- An agent sponsors Joe, he sponsors Tom, who sponsors Mary and Jean. All of these
agents are considered in that agent’s organization.

Paid As (Title): Agents that have earned the various title designations according to the qualifications.

Personal Volume (PV): The total dollar amount of commissionable services sold by an agent. This amount does not
include agent enrollment fees.

Placement: The agent who received the new agent into their organizations, only after it was placed beneath them by the
Enrolling Sponsor. Placement can only take place within the first 60 days.

Roll Up: Commission is paid to qualified, eligible agents. When the intended agent fails to meet the minimum qualification
requirements, the commission is passed to the next Active, eligible agent in the upline.

Team (Leg): All of the agents located beneath an agent, for whom a specific agent is the direct upline. Each Personally
Sponsored Agent on your first level is part of your total organization and is a separate “team/leg”; you and your entire
organization are one “team/leg” to your sponsor.

Upline: An agent’s sponsor and all of the agents in the genealogy above an agent.




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                                                      Dessie Thomas (Financial Coach)
                                                      dessielthomas@gmail.com
                                                      (773) 609-4095


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                                    Following up with your leads

      1. Login to Business Back Office at https://secure.financialeduservices.com
      2. Select “Lead Management” from your FES Connect Tab.
      3. Contact the lead at the time stated best for lead. Scripts located below


   Client Script (Replace red text with YOUR info)

      1. Hello, it’s nice to connect with you. My name is YOURNAMEHERE with
         YOURCREDITNAMEHERE and I saw you just went through our online system, and
         would like to know more about improving your credit score?

   2.     Tell me, what exactly are you looking to get done? Are you trying to get a car, home or
   negative items deleted? or maybe refinance?

   3.     Great, the process is pretty simple. Whatever negative items on your credit report will be
   disputed to be deleted. We do a hard pull on your credit report and dispute every negative item
   on your report at the same time with all 3 credit agencies, creating a very quick turnaround.
   Customers start seeing results in just 45-90 days with us.

          You will also get your own customer portal to track your progress every step of the way
          and about 12 other additional services at no additional cost which includes but are not
          limited to:

          - Identity theft protection
          - Discount shopping and travel
          - 24/7 credit monitoring
          - 24/7 access to a free credit attorney
          - a Will, Trust and Power of Attorney

          It's $188 to get started. Then it's just $89 every month after for however long you want
          the service. It's not a contract; however we recommend that customers stay on the
          service for about 3-6 months. We have an A+ rating with the BBB and 100% Satisfaction
          guaranteed.

          I’m going to send you the enrollment link, once you are in the system you can send me a
          text so I can send you the instructions after so we can get started on the process right
          away and work on getting WHATEVER THEIR STEP 2 IS Sound good?

      4. SEND LINK!




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   Thank you for your interest. This is a life changing opportunity and business. Don't
   take this information lightly as our system and leadership has helped several individuals
   earn 6 figures and walk away from their job.

   Financial Education Services (FES): Financial Education Services has been helping
   consumers achieve their highest financial potential for over 10 years. We pride
   ourselves on our Accredited A+ Rating with the Better Business Bureau: A
   representation of our personal commitment towards customer satisfaction.

   We aim to help customers meet your financial goal while also providing them with the
   tools for long-term, consistent success.

   We've successfully removed bankruptcy, repo, collections, medical bills, tax liens, and
   many other negative or derogatory items from our client’s credit files.

   We dispute every negative item on our client’s report. It is because of this that we have
   such a quick turnaround. Customers start seeing results in 45-90 days with us.

   Most companies would charge their customers $500-$2,500, or a monthly fee of over
   $100, and only pull one credit bureau report at a time, meaning it takes longer for you to
   see results and they keep collecting the monthly fee. We do not hold our customers
   hostage. We charge only $89/mo. We do not make our customers sign a contract;
   they’re on a month by month basis. You can cancel at any time with no penalty.

   Business Opportunity/Investment Cost: Our career opportunity provides a foundation
   for individuals and teams that are driven, highly motivated and looking for access to
   immeasurable success- while positively changing lives across the country. To begin
   your Financial Education Service Franchise as an Agent your initial investment cost is
   $288 and $89 a month. The $89 includes the services listed below. Please note that the
   $89 a month is waived once you enroll your first 5 clients/agents.

   Your benefits include:
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   Compensation plan (Pay): Start earning $100 to $550 for your customers and agents
   Every Thursday! (Direct deposit or check). Pay week starts Sunday morning ends
   Saturday night.


   For your convenience I’ve attached a combination of flyers, videos, link and a Power
   Point to give you more of an overview of the services we provide with our popular
   Protection Plan and Agent enrollment.

   Take a look and enroll TODAY:

   https://www.financialeducationservices.com/CompanyOverview.aspx?rid=DThomas30


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   Welcome to FES PROTECTION:

   Congratulations on investing in yourself and securing your financial future.

   The process is simple:

   Log on www.fesprotectionplan.com
   Log in username: your email address
   Password: Last 4 SSN


   Please send a copy of your Drivers License (or state ID with current address) and SS
   card to Documents@united-credit.org

   Below is a video on how to get started:
   https://fes.wistia.com/medias/sxhj3xnxs0

   Some things to expect:
     x We pull your credit report from all 3 credit bureaus
     x We dispute all the negatives items on all 3 reports at the same time (This will
        give you a quick turnaround)
     x You will start seeing results in 45-90 days
     x It’s only $188 to start and $89 a month (you will receive your receipt via email).


   Be sure to take advantage of the other services in your portal Smart Credit:
      x Credit Monitoring
      x Life Lock: Identity Theft Protection
      x Debt Zero: Budgeting and Debt Tool
      x Will/Trust/Power of Attorney: Estate Directive and Asset Protection
      x And More….

   If you have any questions feel free to call our customer service line at 248-848-9065
   option 1 to activate your services.

   Again, thank you for your business!!!!

   PS: I appreciate referrals and would love to give you some referral fees       ჆

   Dessie Thomas




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